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 Attorneys for Debtor in Possession

                           UNITED STATES BANKRUPTCY COURT

                                       DISTRICT OF IDAHO

 In re:                                              Case No. 22-00346-NGH

 OFF-SPEC SOLUTIONS, LLC, dba COOL                   Chapter 11
 MOUNTAIN TRANSPORT,                                 Subchapter V

                          Debtor.




     DEBTOR’S SECOND AMENDED CHAPTER 11 PLAN OF REORGANIZATION
                           (Subchapter V)

         This Second Amended Plan is for a small business debtor under Subchapter V of Chapter
 11 of the U.S. Bankruptcy Code. Pursuant to the requirements of 11 U.S.C. § 1190, this Second
 Amended Plan includes “(A) a brief history of the business operations of the debtor; (B) a
 liquidation analysis; and (C) projections with respect to the ability of the debtor to make payments
 under the proposed plan of reorganization.”

         PLEASE TAKE NOTICE THAT the Debtor shall submit to the Court a proposed order
 and notice of confirmation hearing (“Order/Notice”) which complies with LBR 3018.1 and
 establishes the confirmation hearing date, location, and time; the last day to object to the Second
 Amended Plan; and the last day to submit ballots. Such proposed order/notice must be approved
 as to form by the subchapter V Trustee, the United States Trustee. The Debtor shall serve such

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 Order/Notice, a copy of the Second Amended Plan, and a ballot on all parties in interest, the United
 States Trustee, and the subchapter V Trustee. The Order/Notice shall set forth the confirmation
 hearing date, location, and time; the last day to object to the Second Amended Plan; and the last
 day to submit ballots.

 YOUR BALLOT STATING HOW YOU ARE VOTING ON THIS SECOND AMENDED PLAN
 MUST BE RETURNED BY THE DEADLINE INDICATED ON THE ORDER/NOTICE. THE
 BALLOT MUST BE MAILED TO THE FOLLOWING ADDRESS: Johnson May, Attn: Matt
 Christensen, 199 N. Capitol Blvd., Ste 200, Boise ID 83702.

 IN ADDITION TO CASTING YOUR VOTE TO ACCEPT OR REJECT THIS SECOND
 AMENDED PLAN, YOU MAY OBJECT TO CONFIRMATION OF THIS SECOND
 AMENDED PLAN BY FILING AN OBJECTION WITH THE BANKRUPTCY COURT BY
 THE OBJECTION DATE AND TIME INDICATED ON THE ORDER/NOTICE.

 A HEARING ON THE CONFIRMATION OF THIS SECOND AMENDED PLAN WILL BE
 INDICATED ON THE ORDER/NOTICE.

         Your rights may be affected by this Second Amended Plan. You should consider discussing
 this document with an attorney.

                                      DEBTOR OVERVIEW

        A.      Nature and Brief History of the Business Operations of the Debtor.

        Cool Mountain is a limited liability company formed under the laws of Delaware.

          As of the Petition Date, Cool Mountain owned and operated 79 tractor trucks nationally
 across the lower 48 states. Cool Mountain is one of the Intermountain West’s larger transportation
 providers, serving regional and national food producers for refrigerated transportation as well as
 some local routes hauling agricultural byproducts. Founded in 2009 and headquartered in Nampa,
 Idaho, Cool Mountain is a leading asset-based over-the-road (“OTR”) trucking company that
 provides refrigerated and dry van transportation services to leading food services companies and
 agricultural producers. OTR hauling includes longer hauls where the driver or drivers will sleep
 in their sleeper cabs when not on the road. Cool Mountain also hauls dedicated freight; in contrast
 to OTR hauling, dedicated drivers work very consistent lanes and generally only run those
 consistent lanes; those lanes are contracted to Cool Mountain. Cool Mountain’s dedicated route
 customers include three top-tier clients who provide substantial business and timely payment:
 Simplot, Franz Bakery and WinCo.

         Cool Mountain’s ownership changed in 2018. Since the ownership change, Cool Mountain
 expanded its services and steadily increased its revenue and establishing itself as a regional
 transportation leader in the greater Idaho marketplace and eventually through the entire United
 States.




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        B.      Events Leading to the Filing of the Bankruptcy Case

        The Debtor’s business was impacted by a reduction in revenues over the past several years
 from the Covid pandemic. For example, Cool Mountain’s revenues were $16,400,000 in 2019,
 then dipped for several months and ultimately ended at $18,100,000 during the first Covid year,
 2020, and rose to $19,700,000 in 2021. In addition, fuel prices doubled in 2022 over 2021 and
 supply chain issues kept trucks in the shops for several months generating no revenue while Cool
 Mountain continued to pay lease or financing costs.

         In late 2021, Cool Mountain hired its current President and CEO, Richard Coyle, who has
 been leading the restructuring of the Debtor’s business. The immediate cause for this Chapter 11
 filing was the need to restructure Cool Mountain’s tractor truck fleet and reduce expenses to
 achieve profitable operations. The reorganization that the Debtor has sought to achieve includes a
 “hard pivot” to tighter geography servicing the Pacific Northwest and California instead of the
 entire lower 48 states. It further calls for an overhaul of safety – i.e. focus on hiring the right
 people, constant training and monitoring of performance: accidents, claims, insurance premiums
 and related costs and collateral in years prior under prior management have been very costly.

        C.      Significant Events During the Bankruptcy Case

         After its bankruptcy filing, the Debtor initially reduced its tractor fleet from 79 to 41
 tractors and its employees from 82 to 54. Cool Mountain also reduced its service area to focus on
 the Pacific Northwest and California to minimize dead mileage runs and consolidate the Debtor’s
 tractors to maximize their availability for multiple drivers to better serve customer orders and help
 the Debtor build better relationships with a tighter network of third-party vendors. These changes
 have substantially reduced the Debtor’s operating expenses, while maintaining strong sales and
 revenues. The Debtor has further been implementing its safety overhaul and has seen much
 improvement in its safety record and related lower costs. Cool Mountain has also sought to meet
 additional client demand by utilizing independent owner-operators who are to be paid a portion of
 the overall revenue from the load. These owner operators are also responsible for fuel, insurance,
 providing their own truck, etc., which saves the Debtor costs.

         The Debtor filed a proposed Chapter 11 Plan on November 3, 2022 (Docket No. 114) (the
 “Original Plan”). While the Debtor had hoped to proceed promptly to confirmation of the Plan,
 the Debtor ran into several challenges to execution of that goal, including: (i) difficulties in
 recruiting independent owner-operators due to large companies (e.g., Amazon) paying
 substantially above typical market rates over the Holiday season, (ii) difficulties increasing
 revenues due to the failure to retain the additional drivers, (iii) the Holiday/Winter months
 generally being the slowest season for trucking transportation, (iv) extreme weather, (v)
 disappointing auction results from the auction of 20 surplus tractor trailers through IronPlanet
 which netted substantially less than the Debtor had procured as an alternative through private sale,
 and (vi) substantial “Availability” payments required to Fifth Third Bank pursuant the Court’s
 cash collateral order that were significantly larger than projected.

        As a result of these setbacks, the Debtor’s sales and collections have been substantially less
 than anticipated and its ability to meet its Original Plan budget and the timing of its payments to


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 creditors have been adversely impacted.

         Notwithstanding the foregoing, the Debtor continues to work towards a successful
 reorganization and the Debtor filed a First Amended Plan of Reorganization on May 31, 2023
 (Docket No. 233). Since the filing of the First Amended Plan, the Debtor has worked through
 solutions and plan treatment for multiple key parties in interest and is now prepared to move
 forward to emerge from bankruptcy as provided by this Second Amended Plan. As set forth in this
 Second Amended Plan, the Debtor has/will have further reduced its fleet of tractors from 41 to 14
 and its employees from 54 to 26. The Debtor will continue to serve is customers by adding more
 owner operators, who pay their own operating expenses which minimizes the Debtor’s costs.

        Other significant events during this bankruptcy case include the following:

    •   Professionals. The Debtor has successfully employed counsel and a restructuring
        consultant in this case, and are otherwise actively seeking to get this Second Amended Plan
        confirmed.

    •   Case Administration. Additionally, the Debtor has successfully negotiated various parties
        in interest and obtained Final Orders approving the Debtor’s continuing use of cash
        collateral (Dkt. No. 85); continued use of existing bank account and cash management
        systems (Dkt. No. 89); and ensure wage payments for its employees (Dkt. No. 90).

    •   Sales of Equipment. The Debtor sold 20 Peterbilt Tractors with Bankruptcy Court approval
        free and clear of all liens with all proceeds to be paid to secured creditor Fifth Third Bank,
        N.A. The Debtor also sold 3 surplus trailers with Bankruptcy Court Approval.

    •   Lease Rejections. The Debtor rejected 9 tractor leases with Penske Truck Leasing Co. L.P.
        pursuant to Bankruptcy Court approval (Dkt. No. 103). The Debtor rejected a real property
        lease with GMB, LLC (Dkt. No. 135). The Debtor rejected its tractor leases with Ryder
        Truck Rental, Inc. (Dkt. No. 274).

    •   Salvador Disputes and IRS Claim. The Debtor obtained Bankruptcy Court approval for a
        compromise that resolved litigation with the Salvadors, eliminated the Salvadors’ claims
        against the Estate of approximately $1.9 million each, satisfied the Ataraxis Claim, the
        release of the Salvadors’ remaining minority ownership interest in the Debtor and satisfied
        substantially all of an IRS Claim priority claim in excess of approximately $422,000. It
        also provided for the release of funds held in a tax escrow to Transportation Investors (Dkt.
        No. 209).

    •   Nondischargeability and Lafferty Disputes. The Debtor obtained dismissal of two
        adversary proceedings alleging nondischargeability of debts. One of those dismissals for
        the adversary proceeding filed by a former employee, Christina Lafferty, remains pending
        on appeal. The Debtor has filed an objection to the Lafferty Proof of Claim No. 34 (the
        “Lafferty Claim”), which remains pending. Lafferty has a pending motion for relief from
        stay, a motion to determine her proof of claim timely filed, and a motion to stay this
        bankruptcy case. These motions remain pending.

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    •   Relief From Stay Motions. PACCAR Financial Corp (“PACCAR”) filed a motion for
        relief from stay relating to 4 tractors. The Debtor surrendered the 4 tractors subject to this
        motion and relief from stay was granted as to the 4 tractors. XTRA Lease LLC filed a
        motion for relief from stay relating to 30+ leased trailers. The Debtor has/will return all
        XTRA Lease trailers. Alliance Funding Group filed a motion to reject lease and/or for
        payment of administrative expenses. The Debtor opposes this motion.

    •   XTRA Lease Administrative Claim. The Court entered an order allowing XTRA Lease an
        Administrative Claim in the amount of $140,530. See Docket No. 272.

    •   Post-Petition Loan. The Debtor obtained an order from the Bankruptcy Court (Dkt. No
        218) authorizing the Debtor to obtain post-petition financing pursuant to sections 364(b)
        and 503 of the Bankruptcy Code in the amount of up to $1,400,000 pursuant to a post-
        petition convertible Loan from the Debtor’s sole member, Transportation Investors, LLC
        (the “Credit Facility”). The order further provides Transportation Investors shall have an
        administrative claim for the amount of any funds advanced pursuant to the Credit Facility
        with the amount of such claim convertible to a capital contribution qualified towards new
        value at confirmation of a plan of reorganization. The Loan Agreement provides that draws
        on the Credit Facility must be approved by Transportation Investors in its sole and absolute
        discretion. Transportation Investors has agreed to make up to $840,000 of a Credit Facility
        available to the Debtor as necessary to pay the Effective Date payments and certain
        operating expenses pursuant to the Second Amended Plan Budget attached as Exhibit B,
        but only if the Court enters an order confirming the Second Amended Plan and if the Debtor
        continues to operate materially consistent with the Second Amended Plan Budget.

    •   Central Valley Fund III SBIC, LP (“CVF III”), a creditor and affiliate of the Debtor
        acquired the debt owed to the Debtor’s senior secured lender, Fifth Third Bank, N.A., the
        loan documents related thereto, and the secured proof of claim filed by Fifth Third Bank
        as Claim No. 9. CVF III acquired this debt and secured claim with the intent to provide
        favorable terms to the Debtor for treatment of the senior secured claim and to avoid the
        potential objections to confirmation from the senior secured lender, Fifth Third Bank.
        Thus, CVF III’s acquisition of the Fifth Third senior secured claims is a major step for the
        Debtor to achieve confirmation of this Second Amended Plan and emerge from bankruptcy.

    •   Transportation Investors has funded $194,000 of the Debtor’s collateral obligation to the
        Debtor’s captive insurance group to facilitate the removal the letter of credit posted by Fifth
        Third Bank in the amount of $578,326 which was a condition to the Bank’s assignment of
        its secured claim to CVF III. Transportation Investors provided this funding to help the
        Debtor’s estate on the condition that this Second Amended Plan provide that the first
        $194,000 that may be refunded by the insurer from any collateral be paid to Transportation
        Investors.

        D.     Filed Monthly Operating Reports

        The Debtor has filed monthly operating reports that detail the revenue, expenses, and other

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 financial events during the course of the case. These reports are available for review by contacting
 Debtor’s counsel or by online access through PACER.

        E.       Liquidation Analysis.

         To confirm the Second Amended Plan, the Court must find that all creditors and equity
 interest holders who do not accept the Second Amended Plan will receive at least as much under
 the Second Amended Plan as such claim and equity interest holders would receive in a chapter 7
 liquidation. A liquidation analysis is attached to the Second Amended Plan as Exhibit A. Pursuant
 to the liquidation analysis, assuming the Debtor’s assets are liquidated by a Chapter 7 Trustee,
 there would be approximately $407,000 in funds available after approximately three years due to
 the fact that a large part of those available funds, if any, would be coming from a Wheels Insurance
 reserve account and would only be available after Wheels Insurance processes applicable claims.
 The Debtor does not believe that any of these funds would be available for general unsecured
 creditors because the total unpaid administrative claims exceed this amount. Therefore, the
 projected recovery for general unsecured creditors after liquidation is $0.00.

        The Debtor has evaluated the transfers made within 90 days of the petition date and
 estimates that approximately $7,000 could be recovered through avoidance actions. This amount
 would go towards payment of substantial unpaid administrative claims. Similarly, any recovery
 or avoidance of post-petition transfers would not be expected provide any additional funds for
 general unsecured creditors since such recovery would just be reallocated among the unpaid
 administrative claims.

        F.       Feasibility Projections.

 The Second Amended Plan Proponent must also show that it will have enough cash over the life
 of the Second Amended Plan to make the required Second Amended Plan payments and operate
 the debtor’s business.

               i.       The Debtor has provided projected financial information in the Second
                        Amended Plan Budget attached as Exhibit B. Exhibit B includes the
                        Debtor’s projected income and expenses over the term of this Second
                        Amended Plan, which is 60 months.

              ii.       The Debtor’s financial projections are based on projected sales of the
                        Debtor’s trucking operations and show that the Debtor will have projected
                        disposable income (as defined by § 1191(d) of the Code) for the period
                        described in § 1191(c)(2) of approximately $1,700,000 for payment to
                        unsecured creditors, depending on the allowed nature of unsecured creditor
                        claims. Based on the anticipated class of unsecured creditors, the Debtor
                        projects general unsecured creditors will receive approximately 27% of
                        their allowed claim amount, provided all claim objections are resolved, the
                        estimates for lease rejection claims are not exceeded, and the disputed
                        claims disallowed. This projection is a rough estimate, not a promise of
                        payment and is based upon the Debtor’s estimates of the allowed amounts


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                       of general unsecured claims before the rejection claims that may be asserted
                       have been allowed. If the general unsecured claims are allowed in greater
                       amounts, the rejection damages asserted in greater amounts or other
                       assumptions, projections or estimates vary, the pro-rata recovery for general
                       unsecured creditors is expected to decrease.

             iii.      The Effective Date payments and certain operating expenses will be paid
                       from a loan from the Debtor’s sole member, Transportation Investors, LLC
                       in an amount up to $1.4 million. As set forth in Article 7, Means of
                       Implementation, Transportation Investors has agreed to make up to
                       $840,000 of a Credit Facility available to the Debtor as necessary to pay the
                       Effective Date payments and certain operating expenses pursuant to the
                       Second Amended Plan Budget attached as Exhibit B, but only if the Court
                       enters an order confirming the Second Amended Plan and if the Debtor
                       continues to operate materially consistent with the Second Amended Plan
                       Budget. As set forth in the projections provided in Exhibit B, with these
                       funds from Transportation Investors, the Debtor reasonably expects to be
                       able to make the payments provided for by this Plan. The Debtor notes,
                       however, that if the Plan is not confirmed, Transportation Investors will not
                       provide the funding, the Debtor will not have sufficient funds to continue
                       operations, the Debtor will proceed with liquidation and/or conversion to
                       Chapter 7 or dismissal.

             iv.       The final Second Amended Plan Payment is expected to be paid on or
                       around August 31, 2028.

              v.       You should consult with your accountant or other financial advisor if you
                       have any questions pertaining to these projections.

                                         ARTICLE 1
                                       PLAN SUMMARY

         1.1     This Second Amended Plan of Reorganization under Chapter 11 of the Code
 proposes to pay the Debtor’s creditors from cash flow from Cool Mountain’s trucking operations
 as set forth herein.

         1.2     As required by the Bankruptcy Code under § 1123(a)(1), this Second Amended
 Plan places Claims and Equity Interests in various classes and describes the treatment each class
 will receive. This Second Amended Plan also states whether each class of Claims or Equity
 Interests is impaired or unimpaired. If this Second Amended Plan is confirmed, each Creditor’s
 recovery is limited to the amount provided in this Second Amended Plan.

         1.3    Only Creditors in classes that are impaired may vote on whether to accept or reject
 this Second Amended Plan, and only Creditors holding Allowed Claims may vote. A class that is
 not impaired is deemed to accept this Second Amended Plan.



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        1.4     This Second Amended Plan provides for:

                        Two (2)                      Classes of priority claims
                        Twelve (12)                  Classes of secured claims
                        Two (2)                      Classes of non-priority
                                                     unsecured claims
                        One (1)                      Class of equity security
                                                     holders

         1.5     This Second Amended Plan includes two categories of claims held by CVF III. For
 the first category, the Second Amended Plan includes and provides treatment for the secured
 claims that CVF III acquired post-petition by assignment from Fifth Third Bank as scheduled in
 Class 2. For the second category this the Second Amended Plan includes and provides treatment
 for amounts loaned to the Debtor by The Central Valley Fund II (“CVF II”) and CVF III pursuant
 to certain pre-petition loans. While the Debtor granted CVF II and CVF III security interests in
 all of its assets pre-petition, CVF II and CVF III did not perfect their liens by filing UCC-1
 financing statements. Accordingly, this Second Amended Plan treats the prepetition debts owed
 to CVF II and CVF III as general unsecured claims in Class 14 notwithstanding any liens or
 security interests granted by the Debtor to CVF II and CVF III pre-petition.

           1.6    Non-priority unsecured creditors holding allowed claims will receive pro rata
 distributions of funds totaling approximately $1,700,000.00 to the class. This Second Amended
 Plan also provides for the payment of allowed administrative and priority claims. The Second
 Amended Plan also provides for payment of allowed lower-level non-priority unsecured claims
 (i.e., tardy unsecured claims), if any.

       1.7   All creditors and equity security holders should refer to Articles 3 through 7 of this
 Second Amended Plan for information regarding the precise treatment of their claim.

        1.8      Your rights may be affected. You should read this Second Amended Plan carefully
 and discuss it with your attorney, if you have one. If you do not have an attorney, you may wish
 to consult one.

                                    ARTICLE 2
                     CLASSIFICATION OF CLAIMS AND INTERESTS

        2.1.1 Class 1a. This class shall consist of all allowed claims entitled to priority under
 §507(a) of the Code (except administrative expense claims under § 507(a)(2), and priority tax
 claims under § 507(a)(8)).

       2.1.2 Class 1b. This class shall consist of the disputed priority claim asserted by the
 Department of Treasury – Internal Revenue Service filed as Claim No. 7 (the “IRS Class 1b
 Claim”).

         2.2    Class 2. This class shall consist of the secured claim held by CVF III as assignee
 of Fifth Third Bank, N.A. (“Fifth Third”) as an allowed secured claim under § 506 of the Code

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 in the amount of $959,385 as detailed in the Court’s final order authorizing the use of cash
 collateral, Docket No. 85 (the “Cash Collateral Order”).

        2.3     Class 3. This class shall consist of the claim of Daimler Truck Financial Services
 USA LLC (“Daimler”) individually and as successor to Mercedes-Benz Financial Services USA
 LLC (“Mercedes”) as an allowed secured claim under § 506 of the Code in the amount of (i)
 $116,894 as of May 31, 2023 for the obligation secured by the tractor on Exhibit C with VIN
 ending 5866, (ii) $289,382 as of May 31, 2023 secured by the 2 tractors on Exhibit C with VINs
 ending 5867 and 5868 identified on Exhibit C, and (iii) $397,320 secured by the 4 tractors on
 Exhibit C with VINs ending 8863, 8864, 8865, 8866.

         2.4    Class 4. This class shall consist of the claim of PACCAR Financial Corp.
 (“PACCAR”) as an allowed partially secured claim under § 506 of the Code secured by the tractors
 identified on Exhibit C as PACCAR Collateral.

         2.5     Class 5. This class shall consist of the claim of BMO Harris Bank N.A. (“BMO”)
 as an allowed secured claim in the amount of $280,000 under § 506 of the Code secured by the 4
 tractors identified on Exhibit C as BMO Collateral. The remaining balance of the BMO claim in
 the amount of $100,802 shall be treated as a $30,664 administrative claim and a $70,138 Class 14
 general unsecured claim.

        2.6     Class 6. This class shall consist of the claim of Ascentium Capital (the
 “Ascentium”) as an allowed fully secured claim under § 506 of the Code in the amount of $375,588
 as of May 31, 2023 secured by the tractors identified on Exhibit C as Ascentium Collateral.

         2.7     Class 7. This class shall consist of the claim of Crossroads Equipment Lease and
 Finance, LLC (“Crossroads”) as an allowed fully secured claim under § 506 of the Code secured
 by the tractors identified on Exhibit C as Crossroads Collateral.

         2.8    Class 8. This class shall consist of the claim of Pawnee Leasing Corporation
 (“Pawnee”) as an allowed fully secured claim under § 506 of the Code secured by the tractors
 identified on Exhibit C as Pawnee Collateral.

        2.9     Class 9. This class shall consist of the claim of Pathward, National Association
 (“Pathward”) fka Crestmark Equipment Finance, a division of MetaBank as an allowed fully
 secured claim under § 506 of the Code secured by the tractors identified on Exhibit C as Pathward
 Collateral.

         2.10 Class 10. This class shall consist of the claim of Key Equipment Finance, a division
 of KeyBank N.A. (“KeyBank”) as an allowed fully secured claim under § 506 of the Code secured
 by the tractors identified on Exhibit C as KeyBank Collateral.

        2.11 Class 11. This class shall consist of the claim of National Interstate Insurance Co.
 (“National Interstate”) as an allowed fully secured claim under § 506 of the Code in the amount of
 $231,879.66 secured by setoff of $250,939 owed to the Debtor as Audit refunds.



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       2.12 Class 12. This class shall consist of the claims of WEX Bank and/or Electronic
 Funds Source LLC (collectively, “WEX”) as an allowed fully secured claim under § 506 of the
 Code.

         2.13 Class 13. This class shall consist of the claim of Wheels Insurance as an allowed
 fully secured claim under § 506 of the Code.

          2.14 Class 14. This class shall consist of all timely-filed (or not required to be filed)
 unsecured claims allowed under § 502 of the Code that are not entitled to priority and not expressly
 included in the definition of any other class. This class includes, without limitation, claims arising
 out of the rejection of any executory contract or unexpired lease, each allowed claim secured by a
 lien on property in which the Debtor has an interest to the extent that such claim is determined to
 be unsecured pursuant to 11 U.S.C. § 506(a) and each such claim of the class described in 11
 U.S.C. § 507(a), to the extent that the allowed amount of such claim exceeds the amount which
 such claim may be afforded priority thereunder. Class 14 includes the undisputed scheduled claims
 for CVF II and CVF III for amounts loaned to the Debtor by CVF II and CVF III pursuant to
 certain pre-petition loans, notwithstanding any liens or security interests granted by the Debtor to
 CVF II and CVF III. Thus, pursuant to this Plan CVF II and CVF III shall lose their liens on the
 Debtor’s assets that secure the Debtor’s pre-petition loans from CVF II and CVF III. This class
 does not include the secured claims that The Central Valley Fund III acquired post-petition from
 Fifth Third Bank as scheduled in Class 2. Those secured claims are treated in Class 2. This class
 is referred to as the “General Unsecured Creditors” class.

        2.15 Class 15. This class shall consist of all tardily-filed unsecured claims allowed under
 § 502 of the Code that are not entitled to priority and not expressly included in the definition of
 any other class. The Debtor contends that the Lafferty Claim was tardily-filed and further disputes
 the merits of the Lafferty Claim. Therefore, the Debtor contends that the Lafferty Claim if allowed
 in any amount should be treated as a Class 15 claim. If the Court determines that the Lafferty
 Claim was timely filed, it shall be treated as a Class 14 claim.

        2.16    Class 16. This class shall consist of the interests of the equity security holders of
 the Debtor.

                                  ARTICLE 3
                 TREATMENT OF ADMINISTRATIVE EXPENSE CLAIMS,
                     PRIORITY TAX CLAIMS AND COURT FEES

        3.1     Unclassified Claims. Pursuant to § 1123(a)(1), administrative expense claims
 allowed under §507(a)(2) and priority tax claims under § 507(a)(8) (other than the IRS Class 1b
 Claim) are not in a class. These Claims are treated by this Second Amended Plan, as follows:

         3.2    Administrative Claims Bar Date. All requests for payment of administrative costs
 and expenses incurred prior to the Effective Date pursuant to Bankruptcy Code §§ 507(a)(1) and
 503(b), and all claims for professional fees, must be served and filed with the Bankruptcy Court
 no later than thirty (30) days after the Effective Date (the “Administrative Claims Bar Date”).
 Holders of administrative claims that do not, file and serve a request for payment of such claims


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 by the Administrative Claims Bar Date shall be forever barred, estopped, and enjoined from
 asserting such claims against the Debtor, its Estate, or its assets and such claims shall be deemed
 discharged as of the Effective Date. Objections to such requests, if any, must be filed and served
 on the Debtor and its counsel, and the requesting party for the Administrative Claim no later than
 thirty (30) days after the date of filing of the of administrative costs and expenses that is the subject
 of the objection. Notwithstanding the foregoing, no request for payment of an Administrative
 Claim need be filed with respect to an administrative claim previously Allowed by a Final Order,
 including any and all administrative claims expressly allowed under the Second Amended Plan.

          3.3     Ordinary Course Administrative Claims. Each holder of an administrative expense
 claim allowed under § 503 of the Code, other than allowed claims by the Debtors’ professionals,
 the Subchapter V Trustee, Arthur J. Gallagher Risk Management Services, Inc. (“Gallagher”),
 lessors, or any creditors in classes 1 through 13 will be paid in full on the Effective Date of the
 Second Amended Plan, or on such date as the claim is allowed by order of the court, whichever is
 later, in cash, or upon such other terms as may be agreed upon by the holder of the claim and the
 Debtor. At this point, the Debtor is not aware of any such administrative claims asserted against
 the Debtor’s estate other than ordinary course administrative claims being paid in the ordinary
 course of business.

         3.4    Other Administrative Claims. The Debtor’s counsel, the Debtor’s financial
 advisor, the Subchapter V Trustee, Gallagher, post-petition amounts owed to lessors, creditors in
 classes 1 through 13 shall be paid as follows: You should examine the proposed treatment of
 your claim carefully.

                 a.      Lessors. All administrative claims for lessors, if any, are to be paid as
                         specifically provided in the Scheduled Vendor Payments attached as
                         Exhibit B to the Second Amended Plan.

                 b.      Gallagher. $20,000 as a reduced fee for any unpaid amounts owed to
                         Gallagher as of the Effective Date shall be paid by the Debtor shortly after
                         the Effective Date.

                 c.      Professionals and SubChapter V Trustee. The fees and costs allowed
                         professional fees and costs of the Debtor’s Professionals, the SubChapter V
                         Trustee, shall be paid pro rata from the following: (1) $200,000 following
                         the Court’s entry of orders on the professional fee applications, and (2) the
                         remaining balance ($222,119 estimated) on or before January 31, 2025. The
                         Debtor reserves the right to pay any such allowed claims sooner in its
                         discretion from available funds. In addition to the foregoing, the fees and
                         costs owed to professional persons employed by the Debtor may be paid by
                         the Debtor’s sole member, Transportation Investors, LLC.

         3.5     Priority Tax Claims. Oregon Department of Transportation (“ODOT”) has filed a
 proof of claim for unpaid prepetition road tax assessments in the amount of $44,102. The Debtor
 is currently evaluating the detail provided by ODOT and may object to the ODOT claim. With
 respect to a claim of a kind specified in § 507(a)(8) other than the IRS Class 1b Claim, the holder


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 of any allowed such claim will receive on account of such claim full payment of the allowed
 amount on the Effective Date. No penalty shall accrue on such priority tax claims after the Petition
 Date. The non-priority general unsecured portion(s) of the allowed claims of the holders of priority
 tax claims, including the penalty and interest accrued thereon, shall be treated in the timely-filed
 unsecured class within this Second Amended Plan, and shall be subject to any discharge granted
 to the Debtor under § 1192.

          3.6    The IRS Class 1b Claim. The Debtor disputes substantially all of the IRS Class 1b
 Claim No. 7 as amended in the amount of $89,702.73. The Debtor is informed and believes that
 the FICA taxes asserted by the IRS Claim in the amount of $77,953.78 were all reported and paid
 by the Debtor. The Debtor is in the process of obtaining and assembling the information related
 to this claim and shall file an objection to the IRS Class 1b Claim, if necessary. In the event that
 the IRS Class 1b Claim is allowed in some amount, such allowed amounts shall be paid on the
 later of the Effective Date or the date the IRS Claim is allowed.

         3.7    Post-Confirmation Tax Claims. All tax claims that are incurred after Confirmation
 shall be payable when due under applicable non-bankruptcy law.

                               ARTICLE 4
        TREATMENT OF CLAIMS, LIENS AND INTERESTS UNDER THE PLAN

        4.1     Claims and interests shall be treated as follows under the Second Amended Plan:

  Class No. Holder of Claim        Impaired     Second Amended Plan Treatment
            or Interest            (Yes/No)
  1         Allowed claims         No           The Debtor is unaware of any allowed claims
            entitled to priority                entitled to priority other than potential tax claims, so
            (except admin                       proposes no treatment for this class. The treatment of
            and tax claims)                     potential tax claims is provided in Article 3.

  2           CVF III by           Yes          CVF III shall have an allowed secured claim, as
              assignment from                   follows:
              Fifth Third
                                                    •   The remaining balance of the Fifth Third
                                                        Capital Expenditure Loan shall be allowed as a
                                                        fully secured claim in the amount of $927,718,
                                                        with a lien on all assets of the Debtor,
                                                        including the funds held by WEX Bank and
                                                        Wheels Insurance;

                                                    •   The Fifth Third Term Loan shall be allowed as
                                                        a secured claim in the amount of $31,667;

                                                    •   The Fifth Third Line of Credit shall be allowed
                                                        as a secured claim in the amount of $0.00.


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  Class No. Holder of Claim   Impaired   Second Amended Plan Treatment
            or Interest       (Yes/No)
                                            •   Attorneys’ fees and costs in the amount of
                                                $0.00.

                                         Capitalized terms not defined herein shall have the
                                         meaning as defined by the Cash Collateral Order
                                         provided that references in the Cash Collateral Order
                                         shall refer to CVF III as the assignee of Fifth Third’s
                                         secured claim. Until such time as CVF III’s allowed
                                         secured claims have been paid in full, CVF III shall
                                         retain its priority liens and security interests on its
                                         Collateral. Disbursements made to CVF III shall be
                                         made directly by the Debtor as set forth below and
                                         shall not be paid through the subchapter V Trustee.

                                         CVF III’s allowed secured claims shall be paid as
                                         follows:

                                         Post-Confirmation Loan – The remaining balance of
                                         the Capital Expenditure Loan and the Term Loan shall
                                         combined into one loan with the principal amount due
                                         of $959,385 and amortized over 84 months at 10%
                                         interest and paid monthly beginning August 2024 with
                                         a final balloon payment due in July 2026 on the same
                                         terms and conditions as provided in the loan
                                         documents for the Capital Expenditure Loan and the
                                         Term Loan except as modified by this Second
                                         Amended Plan.

                                         Revolving Line of Credit Loan – On the Effective the
                                         balance owed on the Revolving Line of Credit Loan is
                                         $0.00. CVF III may but is under no obligation to
                                         reopen the Revolving Line of Credit Loan on the same
                                         terms and conditions as provided in the loan
                                         documents for that loan.

  3         Daimler           Yes        The secured claim of Daimler in the amount of
                                         $116,894 as of May 31, 2023 for the obligation
                                         secured by the tractor on Exhibit C with VIN ending
                                         5866 (the “5866 Claim”) shall accrue interest at the
                                         non-default contract rate until paid in full. The Debtor
                                         shall pay Daimler $8,151 on the Effective Date to cure
                                         all past due amounts owed on the 5866 Claim.
                                         Thereafter, the Debtor shall pay Daimler $2,716.92
                                         per month until the remaining balance of the 5866

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            or Interest       (Yes/No)
                                         Claim is paid in full.

                                         The secured claim of Daimler in the amount of
                                         $289,382 as of May 31, 2023 for the obligation
                                         secured by the tractors on Exhibit C with VIN ending
                                         5867 and 5868 (the “5867 and 5868 Claim”) shall
                                         accrue interest at the non-default contract rate until
                                         paid in full. The Debtor shall pay Daimler $24,864 on
                                         the Effective Date to cure all past due amounts owed
                                         on the 5867 and 5868 Claim. Thereafter, the Debtor
                                         shall pay Daimler $6,216 per month until the
                                         remaining balance of the 5867 and 5868 Claim is paid
                                         in full.

                                         Daimler’s remaining claim in the amount of $397,320
                                         as of May 31, 2023 shall be treated as follows: the
                                         tractors on Exhibit C with VIN ending 8863, 8864,
                                         8865, and 8866 shall be/have been surrendered to
                                         Daimler which together with a payment of $34,579 on
                                         the Effective Date shall constitute full satisfaction of
                                         any and all claims that Daimler might assert against
                                         the Estate.

                                         Until such time as paid in full, Daimler shall retain its
                                         lien on the Daimler Collateral on which it had a pre-
                                         petition lien. Disbursements made to Mercedes shall
                                         be made directly by the Debtor as set forth herein and
                                         shall not be paid through the subchapter V Trustee.

  4         PACCAR            Yes        The Debtor has surrendered the 4 tractors securing the
                                         PACCAR claim to PACCAR. The value of the 4
                                         tractors exceeds the amount owed to PACCAR and the
                                         secured claim of PACCAR has been fully satisfied by
                                         the surrender of the PACCAR Collateral pre-
                                         confirmation. PACCAR shall have no allowed claims
                                         against the Debtor or the Estate.

  5         BMO               Yes        The secured claim of BMO shall be in the amount of
                                         $280,000 and shall be treated as follows: (i) the
                                         tractors on Exhibit C with VIN ending 0161, 0162,
                                         0163, and 0164 shall be/have been surrendered to
                                         BMO at a value of $70,000 each leaving a remaining
                                         unsecured balance of $100,802 of which $30,664 shall
                                         be paid on the Effective Date in satisfaction of any

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            or Interest         (Yes/No)
                                           administrative claims and the remaining balance of the
                                           BMO claim in the amount of $70,138 shall be treated
                                           as a Class 14 general unsecured claim.

                                           BMO shall retain its lien on the BMO Collateral on
                                           which it had a pre-petition lien.

  6         Ascentium           Yes        The secured claim of Ascentium shall be allowed in
                                           the amount of $375,588 as of May 31, 2023 plus
                                           interest at the non-default contract rate until paid in
                                           full. Until such time as paid in full, Ascentium shall
                                           retain its lien on the Ascentium Collateral on which it
                                           had a pre-petition lien. Disbursements made to
                                           Ascentium shall be made directly by the Debtor as set
                                           forth below and shall not be paid through the
                                           subchapter V Trustee.

                                           Payment Terms. The Debtor shall pay Ascentium
                                           $22,886 on the Effective Date to cure all past due
                                           amounts owed on the Ascentium Claim other than the
                                           Deferred Payments referenced below. Thereafter, the
                                           Debtor shall pay Ascentium $9,154 per month until
                                           the remaining balance of the Ascentium Claim is paid
                                           in full.

                                           Deferred Payments. The Debtor’s deferred payments
                                           for the Ascentium Tractors for August 2022 through
                                           February 2023 shall be deferred to the end of the term
                                           of the Ascentium Tractor Contracts. In addition, the
                                           deferred 50% of the monthly payments for March and
                                           April 2023, in addition to all other amounts then
                                           outstanding, shall be paid by the Debtor in over two
                                           months after the expiration of the extended term in
                                           2027.
  7         Crossroads          Yes        The secured claim of Crossroads shall be allowed in
                                           the amount of $241,870 as of May 31, 2023 plus
                                           interest at the non-default contract rate until paid in
                                           full. Until such time as paid in full, Crossroads shall
                                           retain its lien on the Crossroads Collateral on which it
                                           had a pre-petition lien. Disbursements made to
                                           Crossroads shall be made directly by the Debtor as set
                                           forth below and shall not be paid through the
                                           subchapter V Trustee.



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            or Interest       (Yes/No)
                                         Payment Terms. The Debtor shall pay Crossroads
                                         $24,039 on the Effective Date to cure all past due
                                         amounts owed on the Crossroads Claim other than the
                                         Deferred Payments referenced below. Thereafter, the
                                         Debtor shall pay Crossroads $6,010 per month until
                                         the remaining balance of the Crossroads Claim is paid
                                         in full.

                                         Deferred Payment. The Debtor’s payments for the
                                         Crossroads Tractors for August, September, and
                                         October 2022 and unpaid 50% of the monthly
                                         payments for November 2022 through January 2023
                                         shall be deferred to January 2024, in addition to all
                                         other amounts then outstanding (the “Deferred
                                         Amount”). The Debtor will pay the Deferred Amount
                                         in twelve equal sums on a monthly basis starting in
                                         January 2024 and ending in December 2024. The
                                         monthly payment of the Deferred Amount shall be
                                         added to and be paid at the same time as the regular
                                         monthly payments as set forth in the Tractor
                                         Contracts.
  8         Pawnee            Yes        The secured claim of Pawnee shall be allowed in the
                                         amount of $229,555 as of May 31, 2023 plus interest
                                         at the non-default contract rate until paid in full. Until
                                         such time as paid in full, Pawnee shall retain its lien
                                         on the Pawnee Collateral on which it had a pre-
                                         petition lien. Disbursements made to Pawnee shall be
                                         made directly by the Debtor as set forth below and
                                         shall not be paid through the subchapter V Trustee.

                                         Payment Terms. The Debtor shall pay Pawnee
                                         $18,651 on the Effective Date to cure all past due
                                         amounts owed on the Pawnee Claim other than the
                                         Deferred Payments referenced below. Thereafter, the
                                         Debtor shall pay Pawnee $6,217 per month until the
                                         remaining balance of the Pawnee Claim is paid in full.

                                         Deferred Payments. The Debtor’s Payments for the
                                         Pawnee Tractors for (i) August, September, and
                                         October 2022 shall be deferred to the end of the
                                         Tractor Agreements and (ii) 50% of the monthly
                                         Payments for November and December of 2022
                                         shall be deferred to January 1, 2024, at which point, in
                                         addition to regular monthly Payments for all other

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  Class No. Holder of Claim   Impaired   Second Amended Plan Treatment
            or Interest       (Yes/No)
                                         amounts then outstanding, the Debtor will make
                                         payments for the deferred amounts over six months
                                         beginning January 1, 2024.

  9         Pathward          Yes
                                         The secured claim of Pathward shall be allowed in the
                                         amount of $125,674 as of May 31, 2023 plus interest
                                         at the non-default contract rate until paid in full. Until
                                         such time as paid in full, Pathward shall retain its lien
                                         on the Pathward Collateral on which it had a pre-
                                         petition lien. Disbursements made to Pathward shall
                                         be made directly by the Debtor as set forth below and
                                         shall not be paid through the subchapter V Trustee.

                                         Payment Terms. The Debtor shall pay Pathward
                                         $9,188 on the Effective Date to cure all past due
                                         amounts owed on the Pathward Claim other than the
                                         Deferred Payments referenced below. Thereafter, the
                                         Debtor shall pay Pathward $3,062.78 per month until
                                         the remaining balance of the Pawnee Claim is paid in
                                         full.

                                         Deferred Payments. The Debtor’s payments for the
                                         Pathward Collateral for August 2022 through and
                                         including December 2022 shall be deferred to the end
                                         of the term of the Pathward loan with the loan
                                         extended for five (5) months for these five (5) deferred
                                         payments.
  10        KeyBank           Yes        The secured claim of KeyBank shall be allowed in the
                                         amount of $43,942 as of May 31, 2023 plus interest at
                                         the non-default contract rate until paid in full. Until
                                         such time as paid in full, KeyBank shall retain its lien
                                         on the KeyBank Collateral on which it had a pre-
                                         petition lien. Disbursements made to KeyBank shall
                                         be made directly by the Debtor as set forth below and
                                         shall not be paid through the subchapter V Trustee.

                                         Payment Terms. The Debtor shall pay KeyBank
                                         $25,169 on the Effective Date to cure all past due
                                         amounts owed on the KeyBank Claim. Thereafter, the
                                         Debtor shall pay KeyBank $6,292.29 per month until
                                         the remaining balance of the KeyBank Claim is paid in
                                         full.



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  Class No. Holder of Claim       Impaired   Second Amended Plan Treatment
            or Interest           (Yes/No)
  11        National Interstate   No         The claim of National Interstate shall be allowed in the
                                             amount of $196,864.73 secured by setoff of $250,939
                                             owed from National Interstate to the Debtor as Audit
                                             refunds (the “Refund”).

                                             As of the Effective Date, National Interstate shall be
                                             authorized to apply a setoff of the allowed amount of
                                             its claim $196,864.73 against the Debtor’s Refund.
                                             National Interstate may further retain the remaining
                                             balance of the Refund and offset premiums or
                                             deductibles from the remaining balance of the Refund
                                             as they come due for a period of eight months after the
                                             Effective Date. The remaining balance of the Refund,
                                             if any, after 8 months shall be refunded to the Debtor.

                                             Assumption of the National Interstate insurance
                                             contract(s) is addressed in Article 6.
  12        WEX                              WEX is holding $325,000 of the Debtor’s funds to
                                             secure payment of credit charges owed to WEX on its
                                             account. The Debtor will continue to pay WEX in the
                                             ordinary course of business post-petition and WEX
                                             may continue to hold the $325,000 security deposit.

  13        Wheels Insurance                 Wheels Insurance is holding $1,472,708 to secure
                                             payment of certain insurance obligations. The Debtor
                                             will continue to pay Wheels Insurance in the ordinary
                                             course of business post-petition and Wheels Insurance
                                             may continue to hold and apply the security deposits
                                             in accordance with the agreements between the Debtor
                                             and Wheels Insurance. In addition, Transportation
                                             Investors shall be entitled to receive the first $194,000
                                             that may be refunded by Wheels Insurance from its
                                             collateral in consideration of Transportation Investors
                                             having posted $194,000 to remove the Fifth Third
                                             Bank letter of credit which has facilitated this Second
                                             Amended Plan.
  14        All Allowed Non-      Yes        This class shall consist of the allowed unsecured
            Priority Unsecured               claims not entitled to priority and not expressly
            Claims (“General                 included in the definition of any other class. This class
            Unsecured                        includes, without limitation, allowed claims arising
            Claims”)                         out of the rejection of any executory contract, each
                                             allowed claim secured by a lien on property in which
                                             the Debtor has an interest to the extent such claim is
                                             determined to be unsecured pursuant to 11 U.S.C.

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  Class No. Holder of Claim   Impaired   Second Amended Plan Treatment
            or Interest       (Yes/No)
                                         §506(a), and each such claim of the class described in
                                         11 U.S.C. § 507(a), to the extent that the allowed
                                         amount of such claim exceeds the amount which such
                                         claim may be afforded priority thereunder.

                                         As noted below in Class 15, this Plan designates the
                                         Lafferty Claim as a Class 15 Claim; provided,
                                         however, if the Court determines that the Lafferty
                                         Claim was timely filed and allows the Lafferty Claim
                                         in some amount, the allowed Lafferty Claim shall be
                                         treated as a general unsecured claim in Class 14.

                                         The projected disposable income of the Debtor shall
                                         be paid during the life of this Second Amended Plan
                                         (60 months) to creditors holding allowed claims in this
                                         class, and on a pro rata basis, until such allowed
                                         claims are paid in full.

                                         Depending on the outcome of various claim objection
                                         proceedings, the Debtor projects payment of
                                         approximately 27% of the allowed claims in this class
                                         provided that the disputed claims are disallowed. As
                                         noted above, this projection is a rough estimate, not a
                                         promise of payment and is based upon the Debtor’s
                                         estimates provided all claim objections are resolved,
                                         the estimates for lease rejection claims are not
                                         exceeded, and the disputed claims disallowed. If the
                                         general unsecured claims are allowed in greater
                                         amounts, the rejection damages asserted in greater
                                         amounts or other assumptions, projections or estimates
                                         vary, the pro-rata recovery for general unsecured
                                         creditors is expected to decrease.
  15        All Allowed Non- Yes         This class shall consist of the allowed unsecured
            Priority Unsecured           claims not entitled to priority and not expressly
            Claims that are              included in the definition of any other class, which
            tardily filed                consist of claims filed after the claims bar deadline.
            (“Tardily-filed              For avoidance of doubt, this Class 15 includes the
            General Unsecured            disputed general unsecured claim untimely filed by
            Claims”)                     Christina Lafferty and designated as claim No. 34
                                         unless the Court grants Lafferty’s pending motion to
                                         establish the Lafferty Claim as timely filed and denies
                                         the Debtor’s pending objection to the timeliness and
                                         allowance of the Lafferty Claim; provided, however, if
                                         the Court determines that the Lafferty Claim was

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            or Interest             (Yes/No)
                                                timely filed and allows the Lafferty Claim in some
                                                amount, the allowed Lafferty Claim shall be treated as
                                                a general unsecured claim in Class 14.

                                                After all allowed claims in Classes 14 are paid, the
                                                remaining projected disposable income of the Debtor
                                                shall be paid during the remaining life of this Second
                                                Amended Plan (60 months in total), on a pro rata
                                                basis, until such allowed claims are paid in full.

                                                As of the filing of this Second Amended Plan, the
                                                Debtor is not aware of any allowed claims in this
                                                class.
  16         Equity Security                    The Equity Security Holders (owners) of the Debtor
             Holders                            shall retain all ownership rights in the Debtor. To the
                                                extent there is sufficient disposable income from the
                                                operation of the Debtor’s business to pay all allowed
                                                claims in the other classes listed above, the balance of
                                                such disposable income shall be paid to this Class.


        4.2     Waiver of Secured Status and Lien Rights by Claimants. In the event any of the
 claimants listed or scheduled as secured file a proof of claim stating that no part of the claim is
 secured, then the claim shall be deemed entirely unsecured and treated as such pursuant to this
 Second Amended Plan.

         4.3     Proof of Claim Controls Over Amount Scheduled by Debtor(s). The amount listed
 on a timely filed proof of claim (subject to allowance of the claim) shall control over any contrary
 amount listed in the Debtor’ schedules and deemed filed pursuant to 11 U.S.C. § 1111(a).

          4.4    Voiding of Liens. Except as otherwise provided under the Second Amended Plan,
 Confirmation will void pursuant to § 506(d) all liens in excess of the Allowed Secured Claims and
 all liens not expressly preserved by the Second Amended Plan.

         4.5    Projected Recovery of Avoidable Transfers. The Debtor has not yet completed its
 investigation with regard to prepetition transactions. The Debtor anticipates completing its
 investigation by December 31, 2023. If you received a payment or other transfer of property within
 90 days of bankruptcy, the Debtor may seek to avoid such transfer.

                                 ARTICLE 5
                    ALLOWANCE AND DISALLOWANCE OF CLAIMS

         5.1    Objection to Claims. The Debtor or any party in interest may file an objection to
 any claim in any class on or before the first anniversary of the Effective Date. Objections not filed

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 within such time will be deemed waived. If any claim or portion thereof is challenged by an
 objection, the claim shall be treated as a disputed claim.

         5.2     Disputed Claim. A disputed claim is claim that has not been allowed or disallowed
 by a final non-appealable order, and as to which either: (i) a proof of claim has been filed or deemed
 filed, and the Debtor(s), or another party in interest has filed an objection; or (ii) no proof of claim
 has been filed, and the Debtor has scheduled such claim as disputed, contingent, or unliquidated.

         5.3     Delay of Distribution on Disputed Claims. No distribution will be made on account
 of a disputed claim unless such claim is allowed by a final non-appealable order. Notwithstanding
 this delay of distribution on disputed claims, distribution may, in the Debtor’ sole discretion, be
 made on any portion of such disputed claim which is undisputed, pending resolution of the claim
 allowance as a whole.

         5.4    Settlement of Disputed Claims. The Debtor will have the power and authority to
 settle and compromise a disputed claim with court approval and compliance with Rule 9019 of the
 Federal Rules of Bankruptcy Procedure. Following Confirmation and closing of the case, the
 Debtor shall retain the authority to settle and compromise claims with consent of the settling
 claimholder, and without the need for Court intervention or approval.

                                 ARTICLE 6
                  EXECUTORY CONTRACTS AND UNEXPIRED LEASES

        6.1     Executory Contracts are contracts where significant performance of the contract
 remains for both the Debtor and another party to the contract. The Debtor has the right to reject,
 assume (i.e. accept), or assume and assign these types of contracts to another party, subject to the
 Bankruptcy Court’s approval. The paragraphs below explain the Debtor’s intentions regarding its
 Executory Contracts and leases.

        6.2     The Debtor assumes or rejects the following executory contracts and unexpired
         1
 leases as of the Effective Date (if not already assumed or rejected earlier) as follows:

     Name of Other           Description             Plan Treatment
     Party to Executory
     Contract/Lease
     McKinney Trailer        Trailer Leases          The Debtor assumes its leases of 6 McKinney
     Rentals                                         Trailers and 5 Dry Vans identified on Exhibit D
                                                     as of the Effective Date as follows:

                                                     Payment Terms. The Debtor shall pay
                                                     McKinney $23,473 on the Effective Date of the

 1
   Notwithstanding the designation of any contract as a lease or executory contract in this Article
 6 of the Plan, if any counterparty objects to the treatment provided by this Plan, the Debtor
 reserves all rights to amend this Plan to redesignate any such designated leased or executory
 contract as a secured claim to be treated in accordance with the standards for treatment of
 secured claims.
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                                       Plan to cure all past due amounts owed to
                                       McKinney. The Debtor shall make regular
                                       monthly payments in the amount of $8,053 from
                                       June 2023 until the end of the lease term.

  Penske             Trailer Leases    Assumed Leases. The Debtor assumes its leases
                                       for the 4 Penske Trailers identified on Exhibit D
                                       as “Retained” on the Effective Date as follows:

                                       Cure Payment. The Debtor shall pay Penske
                                       $110,890 on the Effective Date of the Plan to
                                       cure all defaults on the leases for the 4 Retained
                                       Penske trailers and the 5 Rejected Penske
                                       Trailers as noted below.

                                       Payment Terms. The regular monthly payments
                                       for the 4 Retained Trailers are as follows: (i)
                                       $841.51 + $0.0401/mile for each Retained
                                       Penske Great Dane; and (iii) $473.33 +
                                       $0.0629/mile for each Retained Penske Dry Van.
                                       The Debtor shall resume making monthly
                                       payments in June 2023. In addition to the
                                       foregoing, all other terms of the leases for the 4
                                       Retained Trailers shall remain in effect following
                                       assumption.

                                       Rejected Leases. The Debtor rejects its leases
                                       for the 5 Penske Trailers identified on Exhibit D
                                       as Rejected (the “Penske Rejected Trailers”).
                                       The Penske Rejected Trailers have been/will be
                                       surrendered to Penske. All post-petition
                                       amounts owed regarding the Penske Rejected
                                       Trailers will be cured by the payment identified
                                       above. Any other amounts that may be asserted
                                       by Penske related to the Penske Rejected Trailers
                                       may be filed by Penske no later than 30 days
                                       after the Effective Date and such amounts as
                                       may be allowed shall be treated as a Class 14
                                       general unsecured claim.

  Penske             Tractor Leases    The 9 Returned Penske Tractors identified on
                                       Exhibit D have all been surrendered to Penske
                                       and the leases for the 9 Returned Tractors shall
                                       be deemed rejected as of the Petition Date
                                       pursuant to the Debtor’s motion filed as Docket
                                       No. 103. The Debtor shall pay Penske for one

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                                       month of post-petition rent for the 9 Returned
                                       Tractors in the aggregate amount of $21,772.35
                                       on or before May 25, 2024. Any allowed
                                       rejection claim for Penske shall be treated as a
                                       general unsecured claim.

  Ryder              Tractor Leases    Volvo Tractors and Freightliner Tractors. The
                                       Debtor rejects its leases for the 15 Ryder
                                       Tractors identified on Exhibit D as 10-2023
                                       Volvo and 5-2020 Freightliner as of May 1, 2023
                                       (the “Volvo Tractors” and “Freightliner
                                       Tractors”). See Motion to Reject at Dkt. No.
                                       224.

                                       The Debtor shall pay Ryder $5,422 per month
                                       through the end of the 60 month Plan Term in
                                       satisfaction of any administrative claims that
                                       Ryder may have against the Estate. Any other
                                       amounts that may be asserted by Ryder related to
                                       the Volvo Tractors and Freightliner Tractors may
                                       be filed by Ryder no later than 30 days after the
                                       Effective Date and such amounts as may be
                                       allowed shall be treated as a Class 14 general
                                       unsecured claim.

                                       Early Returned Tractors. The leases for the 4
                                       Early Returned Tractors identified on Exhibit D
                                       as 4-2020 Freightliner shall be deemed rejected
                                       as of the Petition Date. The Debtor shall pay
                                       Ryder $315.71 per month through the end of the
                                       60 month Plan Term in satisfaction of any
                                       administrative claims arising from the pro-rated
                                       periods for the 4 Rejected Tractors, which were
                                       as follows for serial numbers ending: (1) G6441
                                       August 5, 2022 through on September 30, 2022;
                                       (2) G6442 August 5, 2022 through on September
                                       20, 2022; (3) G6444 August 5, 2022 through on
                                       September 20, 2022, and (4) G6446 August 5,
                                       2022 through on August 9, 2022 (collectively,
                                       the “Pre-Surrender Rent”). In addition, Ryder
                                       shall have an allowed lease rejection claim for
                                       the Rejected Tractors based upon the Schedule A
                                       Vehicle Component Value attached to Docket
                                       No. 137, which, for each vehicle, is $156,211.00
                                       less monthly depreciation as provided by
                                       paragraphs 14(a) and 13(c) of the main Truck

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                                        Lease and Service Agreement. The total lease
                                        rejection claim for the Early Rejected Tractors is
                                        $370,396.51 as set forth on Exhibit A attached to
                                        the Stipulation filed as Docket No. 137;
                                        provided, however, that when Ryder leases a
                                        Rejected Tractor, Ryder shall amend its claim to
                                        offset the rental income received for the Rejected
                                        Tractor(s) from the new lessee(s) for the
                                        remainder of the term of the rejected leases.

  Wells Fargo         Trailer Leases    The Debtor assumes its leases for the 13 Wells
                                        Fargo Trailers identified on Exhibit D as of the
                                        Effective Date as follows:

                                        Buyout Payment Terms. The Debtor’s buyout of
                                        the Wells Fargo Trailers for the sum of $111,538
                                        shall be amortized over 36 months at the interest
                                        rate of 4.51%, which is the same effective
                                        interest rate as the Trailer Contracts. The
                                        monthly payment shall be $3,318.41 per month
                                        starting in December 2022 through November
                                        2025. All monthly payments shall be due on or
                                        before the 15th day of each month. Following
                                        the final payment, title to the Wells Fargo
                                        Trailers shall transfer to the Debtor.

                                        Cure Payment: The Debtor shall cure on the
                                        Effective Date any payments not made to these
                                        terms up to that point. As of June 30th, this cure
                                        amount is anticipated to be $13,274 to be paid on
                                        the Effective Date.


  Alliance Funding    Tractor Leases    The Debtor assumes its leases for the 2 Alliance
  Group                                 Tractors identified on Exhibit D as of the
                                        Effective Date as amended by, and with
                                        payments to be made in accordance with, the
                                        Lease Deferral Agreement attached hereto as
                                        Exhibit E.

                                        Cure Payment. The Debtor shall cure on the
                                        Effective Date any payments not made to these
                                        terms up to that point. As of June 30th, this cure
                                        amount is anticipated to be $9,855 to be paid on
                                        the Effective Date.



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                                               Monthly Payments. The Debtor shall continue
                                               making timely payments pursuant to the Lease
                                               Deferral Agreement until the lease expires.
                                               Following the final payment, title to the Alliance
                                               Tractors shall transfer to the Debtor.


  Rocky Mountain         Real Property Lease The Debtor assumes its lease(s) for the real
  Management &                               property located at 184 Industrial Park, 1428
  Development, LLC                           Madison Avenue, Nampa, Idaho as of the
                                             Effective Date as follows:

                                               Cure Payment. All past due rent in the amount
                                               of $9,845 shall be cured on or around the
                                               Effective Date.

                                               Monthly Payments. The Debtor shall continue
                                               making timely payments pursuant to the Lease
                                               Agreement until the lease expires.

  Xtra Lease             Trailer Leases       To the extent not already rejected, the Debtor
                                              rejects any and all leases with XTRA Lease.

                                               The Debtor shall pay XTRA Lease $2,525 per
                                               month through the end of the 60 month Plan
                                               Term in satisfaction of any administrative claims
                                               that XTRA Lease may have against the Estate.
                                               Any other amounts that may be asserted by
                                               XTRA Lease related to any lease or rental of
                                               trailers to the Debtor or any repairs or damages
                                               to such trailers may be filed by XTRA Lease no
                                               later than 30 days after the Effective Date and
                                               such amounts as may be allowed shall be treated
                                               as a Class 14 general unsecured claim.


  National Interstate    Insurance Contract    The Debtor assumes its unexpired insurance
                                               contract(s) with National Interstate.

                                               Payment Terms. The cure amount for the
                                               National Interstate Insurance contracts is $0.00.
                                               The Debtor shall continue to pay post-petition
                                               and post-confirmation deductibles as they come
                                               due in the ordinary course of business.




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 Aetna                      Employee Benefits      The Debtor assumes its unexpired employee
                                                   benefits contract(s) with Aetna.

                                                   Payment Terms. The cure amount for the Aetna
                                                   employee benefits contracts is $0.00. The
                                                   Debtor shall continue to pay post-petition and
                                                   post-confirmation monthly invoices from Aetna
                                                   as they come due in the ordinary course of
                                                   business.

 Samsara                                           The Debtor shall retain 20 Samsara units for the life
                                                   of the contract for a monthly fee of $1,750.


         6.3     Except for executory contracts and unexpired leases that have been assumed, and
 if applicable assigned, before the Effective Date or under Article 6.01 of this Second Amended
 Plan, or that are the subject of a pending motion to assume, and if applicable assign, the Debtor
 will be conclusively deemed to have rejected all executory contracts and unexpired leases as of the
 Effective Date. Any creditors that believe they hold claims with respect to contracts rejected
 hereunder shall file a proof of claim on or before thirty (30) days after confirmation of this Second
 Amended Plan. Any such timely filed allowed claims will participate in the distribution for General
 Unsecured Creditors set out within this Second Amended Plan.

                                    ARTICLE 7
                      MEANS FOR IMPLEMENTATION OF THE PLAN

        7.1     The Debtor will continue to operate as a trucking company. The income from
 operating the Debtor’s trucking company will be used to fund this Second Amended Plan. Debtor
 has provided projected financial information. Those projections are listed in Exhibit B.

         7.2     Transportation Investors LLC is the sole owner of the Debtor. The Salvadors, who
 owned approximately .1% on the Petition Date surrendered their ownership interests in the Debtor
 pursuant to a settlement agreement approved by the Court. After confirmation of this Second
 Amended Plan, the current owners shall remain as owners of the Debtor. The Debtor shall remain
 governed by its current Operating Agreement, as amended. Richard Coyle shall remain as
 President and Chief Executive Officer of the Debtor, who will continue to provide services to the
 Debtor unless replaced. Mr. Coyle does not own any interest in the Debtor and shall be paid a
 salary for his services, and an additional $35,000 payment on May 31, 2024.

         7.3    The funding for the Effective Date payments and certain operating expenses will
 be paid from a loan from Transportation Investors in an amount up to $1.4 million. The
 Convertible Loan Agreement for this funding was submitted as an Exhibit to Dkt. No. 205.
 Pursuant to the Loan Agreement, Transportation Investors has agreed to make up to $840,000 of
 a Credit Facility available to the Debtor as necessary to pay the Effective Date payments and
 certain operating expenses pursuant to the Second Amended Plan Budget attached as Exhibit B,
 but only if the Court enters an order confirming the Second Amended Plan and if the Debtor
 continues to operate materially consistent with the Second Amended Plan Budget. As set forth in
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 the projections provided in Exhibit B, with these funds from Transportation Investors, the Debtor
 reasonably expects to be able to make the payments provided for by this Plan.

         7.4     The Subchapter V Trustee is entitled to reasonable compensation for actual,
 necessary services not to exceed 2% of amounts disbursed by the Subchapter V Trustee. As
 outlined in Article 4 above, the Debtor anticipates all distributions to creditors will be made by the
 Debtor, with no distributions by the Subchapter V Trustee. While the Debtor does not anticipate
 any distributions by the Subchapter V Trustee, in the event the Subchapter V Trustee is required
 to make any distributions, the Debtor anticipates the Trustee will receive reasonable compensation
 subject to a maximum of two percent (2%) of the funds received and disbursed after Confirmation.
 The Debtor anticipates that Second Amended Plan Payments will be made from the Debtor to the
 Trustee through Electronic Funds Transfers (EFTs) or other medium of efficient monetary
 transactions from the Debtor to the Trustee, as agreed and arranged between them.

        7.5    Post-Confirmation Management. The Post-Confirmation Officers/Managers of the
 Debtor and their compensation shall be as of the Effective Date and unless and until replaced as
 follows:

            NAME                             POSITION
  Richard Coyle                     President and Chief Executive
  Greg Huntington                   Chief Financial Officer

      7.6  Tax Consequences of this Second Amended Plan. CREDITORS AND EQUITY
 INTEREST HOLDERS CONCERNED WITH HOW THIS SECOND AMENDED PLAN MAY
 AFFECT THEIR TAX LIABILITY SHOULD CONSULT WITH THEIR OWN
 ACCOUNTANTS, ATTORNEYS, AND/OR ADVISORS

                                    ARTICLE 8
                      GENERAL AND MISCELLANEOUS PROVISIONS

          8.1    Title to Assets. If a plan is confirmed under § 1191(a), except as otherwise provided
 in this Second Amended Plan or in the order confirming this Second Amended Plan, (i)
 confirmation of this Second Amended Plan vests all of the property of the estate in the Debtor, and
 (ii) after confirmation of this Second Amended Plan, the property dealt with by this Second
 Amended Plan is free and clear of all Claims and Equity Interests of Creditors, Equity Security
 Holders, and of general partners in the Debtor.

         If a plan is confirmed under § 1191(b), property of the estate includes, in addition to the
 property specified in § 541, all property of the kind specified in that section that the Debtor
 acquires, as well as earning from services performed by the Debtor, after the date of
 commencement of the case but before the case is closed, dismissed or converted to a case under
 chapter 7, 12, or 13 of the Bankruptcy Code, whichever occurs first. Except as provided in § 1185
 of the Bankruptcy Code, this Second Amended Plan, or the order confirming this Second Amended
 Plan, the Debtor shall remain in possession of all property of the estate.




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         8.2    Definitions and Rules of Construction. The definitions and rules of construction set
 forth in §§ 101 and 102 of the Code shall apply when terms defined or construed in the Code are
 used in this Second Amended Plan, and they are supplemented by the below listed definitions.
 Therefore, the following terms, when used in this Second Amended Plan, shall have the following
 meanings:

                a.     “Adequate Protection Payments” shall mean payments made by the Debtor
                       to creditors holding claims secured by property of the Debtor, from the
                       Petition Date to the Effective Date, whether or not such payments were
                       made directly to the creditor or deposited into an account, and whether or
                       not such payments were made pursuant to an order of the Court.

                b.     “Code” shall mean the Bankruptcy Reform Act of 1978, as amended, 11
                       U.S.C. § 101, et seq.

                c.     “Confirmation” shall mean the entry by the Court of an order confirming
                       the Second Amended Plan.

                d.     “Court” shall mean the United States Bankruptcy Court for the District of
                       Idaho and the Judge assigned to this case.

                e.     “Debtor” shall mean Off-Spec Solutions, LLC, with the status of and rights
                       conferred to Debtor-in-possession by § 1107 of the Code.

                f.     “Disposable Income” shall mean all surplus income received by the Debtor
                       after the payment of the reasonable and necessary living expenses of the
                       Debtor and dependents.

                g.     “Effective Date” shall mean the later of (i) the first business day of the
                       second full month following Confirmation, or (ii) the first business day after
                       an appeal of an order confirming this Second Amended Plan has become
                       final and unappealable.

                h.     “Interests” shall mean the ownership interests held by the Debtor in
                       Property.

                i.     “Petition Date” shall mean August 5, 2022.

                j.     “Second Amended Plan” shall mean this Chapter 11 Second Amended Plan
                       as the same may be modified from time to time in accordance herewith or
                       pursuant to applicable law.

                k.     “Second Amended Plan Payments” shall mean all funds remitted by the
                       Debtor, the Reorganized Debtor, and/or third parties on behalf of the Debtor
                       or Reorganized Debtor to be distributed pursuant to the Second Amended
                       Plan.


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                l.      “Reorganized Debtor” shall mean the Debtor after Confirmation.

         8.3     Severability. If any provision in this Second Amended Plan is determined to be
 unenforceable, the determination will in no way limit or affect the enforceability and operative
 effect of any other provision of this Second Amended Plan.

         8.4  Binding Effect. When this Second Amended Plan is confirmed, the provisions of
 this Second Amended Plan will bind the Debtor and all creditors, whether or not they accept this
 Second Amended Plan. The rights and obligations of any entity named or referred to in this Second
 Amended Plan will be binding upon, and will inure to the benefit of, the successors or assigns of
 such entity.

       8.5    Captions. The headings contained in this Second Amended Plan are for
 convenience of reference only and do not affect the meaning or interpretation of this Second
 Amended Plan.

         8.6    Controlling Effect. Unless a rule of law or procedure is supplied by federal law
 (including the Code or the Federal Rules of Bankruptcy Procedure), the laws of the State of Idaho
 govern this Second Amended Plan and any agreements, documents, and instruments executed in
 connection with this Second Amended Plan, except as otherwise provided in this Second Amended
 Plan.

       8.7    Retention of Jurisdiction of the Court. In addition to the continued jurisdiction after
 Second Amended Plan Confirmation that is provided for as a matter of law by the Code and
 Bankruptcy Rules, the Court shall retain exclusive jurisdiction for the following:

                a.      To determine any and all objections to the allowance, extent, priority or
                        nature of any claims, the amount and proper classification of the claim of
                        any holder and the determination of such objections as may be filed to any
                        claims;

                b.      To determine any and all applications for compensation and reimbursement
                        pursuant to §§ 330 or 331 of the Code;

                c.      To determine any and all applications for the assumption or rejection of
                        executory contracts and unexpired leases, and the allowance of any claims
                        resulting from rejection thereof;

                d.      To determine any and all applications, adversary proceedings and litigated
                        matters that may be filed in this Court;

                e.      To interpret, enter final orders relating to, and otherwise act upon or in
                        regard to the terms and provisions of the Second Amended Plan;

                f.      To cause the correction of any defect, the curing of any omission or the


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                       reconciliation of any inconsistency in this Second Amended Plan or the
                       Confirmation order as may be necessary to carry out the purposes and intent
                       of the Second Amended Plan;

               g.      To consider the modification of this Second Amended Plan after the date of
                       Confirmation as allowed pursuant to the Federal Rules of Bankruptcy
                       Procedure and the Code;

               h.      Except as otherwise provided in this Second Amended Plan, to make any
                       determinations and to issue any final orders to enforce, interpret or
                       effectuate the Second Amended Plan;

               i.      To enter a final order concluding and terminating this case;

               j.      To review the reasonableness of any Post-Confirmation professional fees
                       paid by the Reorganized Debtor pursuant to Sections 10.02 and 10.04 of
                       this Second Amended Plan; and

               k.      To determine such other matters as may be provided for in the Confirmation
                       order.

        8.8     Withdrawal of Plan. At the option of the Debtor, this Second Amended Plan may
 be withdrawn at any time prior to Confirmation. Such option shall be exercised by filing with the
 Court a notice of withdrawal and mailing a copy of such notice to all creditors, equity security
 holders and persons specially requesting all notices in this case.

         8.9    Retention of Claims. Pursuant to § 1123(b)(3)(B) of the Code, the Debtor shall
 retain each and every claim, demand or cause of action whatsoever which the Debtor may have
 had power to assert immediately prior to Confirmation, including without limitation, actions for
 the avoidance and recovery pursuant to § 550 of the Code of transfers avoidable by reason of §§
 544, 545, 547, 548, 549 or 553(b) of the Code.

         8.10 Continued Reporting Requirements. Pursuant to Fed. R. Bank. P. 2015, the Debtor
 is required to file monthly operating reports until Confirmation.

         8.11 Exemptions from Transfer Tax. The issuance, transfer or exchange of a security or
 the recording of any instrument evidencing the transfer of assets contemplated under the Second
 Amended Plan, including the post-Confirmation sale of any property, shall not be taxed under any
 law imposing a stamp tax or similar tax pursuant to § 1146(c) of the Code.

         8.12 Modification of the Plan. The Debtor may propose amendments or modifications
 of this Second Amended Plan at any time prior to Confirmation with leave of the Court. After
 Confirmation, the Debtor, with approval of the Court, and so long as they do not materially or
 adversely affect the interests of creditors, may remedy any defect or omission, or reconcile any
 inconsistencies in the Second Amended Plan or in the order of confirmation in such a manner as
 may be necessary to carry out the purposes and effect of this Second Amended Plan. The foregoing


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 provisions of this paragraph do not limit the ability the Debtor to modify the Second Amended
 Plan under § 1193 and applicable rules.

         8.13 Early Payment. Nothing herein shall prohibit the Reorganized Debtor from making
 an early payment of an allowed claim, provided the funds used to pay that claim will not cause a
 reduction of the distributions to the unsecured claims in amount. In addition, nothing herein shall
 be construed as imposing a temporal requirement on the Debtor to wait the proposed length of the
 Second Amended Plan to satisfy all Second Amended Plan Payments, and the Reorganized Debtor
 shall not be prohibited from making an early payment of the projected amount to Class 14 claims,
 provided that the Debtor is current on any payments then required to Class 1 through Class 13
 claims.

         8.14 Preservation of Claims and Causes of Action. The Debtor retains and reserves all
 causes of action. It is the intent of the Debtor that this reservation of claims shall be as broad as
 permitted by applicable law and shall include all claims, whether or not disclosed in the Debtor’s
 schedules or this Second Amended Plan. The Debtor shall have the widest possible latitude in
 deciding whether or not to pursue any possible cause of action, including without limitation, any
 preference or other avoidance action. Except as expressly provided in the Second Amended Plan,
 the Confirmation order shall not bar the Debtor by res judicata, collateral estoppel or otherwise
 from collecting, prosecuting or defending any matter, avoidance action, or cause of action. Any
 and all creditors identified in Questions 6 and/or 7 to Debtor’s Statement of Financial Affairs in
 this Chapter 11 case, which includes all creditors receiving payments from the Debtor in the 90
 days preceding the Petition Date and insiders receiving payments in the year preceding the Petition
 Date that aggregated at least $6,425.00, may be the defendant of an avoidance action or other cause
 of action. These identified claims are not intended to be an exhaustive list, and the Debtor may add
 to or amend the identified claims after Confirmation and reserves their right to do so. Each creditor
 and party in interest is advised to review closely the Second Amended Plan, the Disclosure
 Statement, and the Debtor’s filed Schedules and Statement of Financial Affairs to determine
 whether any cause of action or avoidance action may be pursued against it. Avoidance actions to
 recover preferences pursuant to Section 547 of the Code may exist against every person who
 received a payment from the Debtor within 90 days prior to the Petition Date.

          8.15 Default Under Plan. Confirmation shall effect a cure of any existing default under
 a debt, and notwithstanding the provision of any lease or loan document that may survive the
 Confirmation, an event of default as to any claim after Confirmation shall exist only if the Debtor
 (i) fails to make a monetary payment when due under the Second Amended Plan and that default
 is not cured within twenty (20) days following delivery of written notice of that default, (ii) fails
 to insure the property securing the creditor’s claim for the value of the property, or (iii) disposes
 of the property securing the claim, normal wear and tear excepted, without either the consent of
 the creditor holding the claim, the satisfaction of the lien on that property, or the payment of the
 net proceeds to that creditor.

         8.16 Notice. Unless otherwise directed by the Debtor in writing, notice of default shall
 be sufficient if delivered as follows:

        If to the Debtor or Reorganized Debtor:                Off-Spec Solutions, LLC, dba Cool


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                                                              Mountain Transport
                                                              c/o Richard Coyle, President and
                                                              CEO
                                                              1428 Madison Avenue
                                                              Nampa, ID 83687

        With copy to:                                         Jason E. Rios
                                                              Felderstein Fitzgerald Willoughby
                                                              Pascuzzi & Rios LLP
                                                              500 Capitol Mall, Suite 2250
                                                              Sacramento, CA 95814
                                                              jrios@ffwplaw.com

                                                              Matthew T. Christensen
                                                              Johnson May
                                                              199 N. Capitol Boulevard, Suite 200
                                                              Boise, ID 83702
                                                              mtc@johnsonmaylaw.com


        With additional copy to:                              Matthew W. Grimshaw
                                                              800 W. Main Street, Ste 1460
                                                              Boise, ID 83702
                                                              matt@grimshawlawgroup.com

                                ARTICLE 9
             EFFECT OF CONFIRMATION, DISCHARGE AND INJUNCTION

        9.1     Vesting of Property. Except as otherwise expressly provided in the Second
 Amended Plan, Confirmation of the Second Amended Plan shall vest all the property of the
 Debtor’s estate in the Debtor.

         9.2     Property Free and Clear. Except as otherwise provided in the Second Amended
 Plan, all property shall be free and clear of all claims, liens and interests of any party as of the
 Confirmation of the Second Amended Plan. This Second Amended Plan will evidence the release
 of any and all liens or encumbrances against all property, unless such lien or encumbrance is
 specifically retained in the Second Amended Plan.

        9.3    Legal Binding Effect. The provisions of this Second Amended Plan shall bind all
 claimants, whether or not they accept this Second Amended Plan or whether or not their claim is
 impaired.

         9.4    Effect on Third Parties. Nothing contained in the Second Amended Plan or in the
 documents to be executed in connection with the Second Amended Plan shall affect any claimant’s
 rights against any third party, except as otherwise expressly provided in this Second Amended
 Plan and except that any creditor or party in interest may only recover from any third-party


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 guarantor or co-obligor the amount owed to it in excess of the amount to be paid on the underlying
 obligation pursuant to the Second Amended Plan.

         9.5    Release of Claims. The consideration to be distributed under the Second Amended
 Plan shall be in exchange for, and in complete satisfaction and release of, all claims against the
 Debtor or any of its assets or properties, including without limitation, any claim accruing after the
 Petition Date and prior to the Effective Date.

         9.6     Permanent Injunction. Except as otherwise expressly provided in, or permitted
 under, this Second Amended Plan, the Confirmation order shall provide, among other things, that
 all claimants and persons who have held, hold or may hold claims that existed prior to the Effective
 Date, are permanently enjoined on and after the Effective Date against the: (i) commencement or
 continuation of any judicial, administrative, or other action or proceeding against the Debtor on
 account of claims against the Debtor, or on account of claims released pursuant to section 9.05 of
 the Second Amended Plan; (ii) enforcement, attachment, collection or recovery by any manner or
 means of any judgment, award, decree, or order against the Debtor or any property; or (iii) creation,
 perfection or enforcement of any encumbrance of any kind against the Debtor arising from a claim.
 This provision does not enjoin the prosecution of any claims that arise on or after the Effective
 Date nor does it enjoin the determination in the Bankruptcy Court of the amount of any claims that
 arose prior to the Effective Date. Claimants and parties asserting entitlement to payment of
 administrative claims incurred prior to the date of Confirmation shall be permanently enjoined
 from asserting any Claim against the Debtor or their retained assets based upon any act or
 omission, transaction or other activity that occurred prior to the Confirmation date, except as
 otherwise provided in the Second Amended Plan, whether or not a proof of claim or interest was
 filed and whether or not such claim or interest is allowed under Section 502 of the Code.

         9.7     Exculpation. Except as otherwise provided in the Second Amended Plan or
 Confirmation order, the Debtor and the professionals for the Debtor shall neither have nor incur
 any liability to any entity or person for any act taken or omitted to be taken (exclusive of an act
 constituting fraud, gross negligence or intentional misconduct) in connection with or related to this
 Chapter 11 case, including, without limitation, actions related to the formulation, preparation,
 dissemination, implementation, administration, Confirmation or consummation of the Second
 Amended Plan, or any contract, instrument, release or other agreement or document created or
 entered into in connection with the Second Amended Plan.

         9.8     Discharge [if under § 1191(a)]. If this Second Amended Plan is confirmed under §
 1191(a), on the Effective Date of the Second Amended Plan, the Debtor may be discharged from
 any debt that arose before Confirmation of this Second Amended Plan, to the extent specified in §
 1141(d)(1)(A) of the Code. However, the Debtor will not be discharged from any debt (i) imposed
 by this Second Amended Plan; (ii) excepted from discharge under § 523(a) of the Code, except as
 provided in Rule 4007(c) of the Federal Rules of Bankruptcy Procedure; or (iii) excepted from
 discharge 11 U.S.C. § 1141(d)(3). Notwithstanding the foregoing, Christina Lafferty has pending
 an appeal of a dismissal of her complaint alleging nondischargeability of a disputed claim. If Ms.
 Lafferty obtains a final, non-appealable judgment declaring her claim nondischargeable, that
 judgment shall be excepted from the discharge.



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         9.9      Discharge [if under § 1191(b)]. If the Second Amended Plan is confirmed under §
 1191(b), Confirmation of this Second Amended Plan does not discharge any debt provided for in
 this Second Amended Plan until the Court grants a discharge on the completion of all payments
 due within the first 3 years of this Second Amended Plan, or as otherwise provided in § 1192 of
 the Code. The Debtor will not be discharged from any debt (i) on which the last payment is due
 after the first 3 years of the Second Amended Plan, or as otherwise provided in § 1192; or (ii)
 excepted from discharge under § 523(a) of the Code, except as provided in Rule 4007(c) of the
 Federal Rules of Bankruptcy Procedure. Notwithstanding the foregoing, Christina Lafferty has
 pending an appeal of a dismissal of her complaint alleging nondischargeability of a disputed claim.
 If Ms. Lafferty obtains a final, non-appealable judgment declaring her claim nondischargeable,
 that judgment shall be excepted from the discharge.

                              ARTICLE 10
       CLOSING OF THE CASE AND CONTINUED EXECUTION OF THE PLAN

        10.1 Closing of the Case. After the Effective Date, upon the payment of all outstanding
 administrative claims and the commencement of payments to priority creditors and secured
 claimants, the Reorganized Debtor will seek an Order closing the case through the filing of a final
 accounting and a motion for a final decree as required under Bankruptcy Rule 3022.

        10.2 Professional Fees after Confirmation. In the period after the date of Confirmation,
 but before closing of the case, the Reorganized Debtor may continue to avail itself of the services
 of professional persons whose employment was approved at or prior to the date of Confirmation
 in completing administration of the case and in the consummation and performance of the Second
 Amended Plan and, if necessary, employ additional professional persons to render services in and
 in connection with the case. With respect to services rendered and expenses incurred in or in
 connection with the case by any professional person during such period, the professional person
 may render periodic billing thereafter to the Reorganized Debtor and the Trustee, who shall
 promptly pay the same, but each such payment shall be subject to review and approval by the
 Court as to the reasonableness thereof, as set forth hereinbelow. In any Motion for Final Decree,
 the Reorganized Debtor shall detail all amounts paid during such period to professional persons as
 compensation for services rendered or reimbursement of expenses incurred, with respect to which
 no prior application for allowance thereof has been made to the Court. At any hearing upon the
 Reorganized Debtor’ Motion for Final Decree, the Court shall consider and determine whether or
 not such payments shall be approved as reasonable.

         10.3 Continued Execution of the Plan after Closing. After closing of the case, the
 Reorganized Debtor shall remit all Second Amended Plan Payments to the appropriate holders of
 allowed claims provided for in the Second Amended Plan. Upon all payments having been
 distributed, the Reorganized Debtor shall be authorized to reopen the case, satisfy any additional
 requirements under the Code and receive a discharge.

        10.4 Professional Fees after Closing. After closing of the case, the Reorganized Debtor
 may continue to avail itself to the services of professional persons whose employment was
 approved at or prior to closing of the case in performance of the Second Amended Plan. In the
 event such professional services are rendered, or expenses are incurred by any professional person


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                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this July 18, 2023, I filed the foregoing DEBTOR’S
 CHAPTER 11 SECOND AMENDED PLAN OF REORGANIZATION (Subchapter
 V)electronically through the CM/ECF system, which caused the following parties to be served by
 electronic means, as more fully reflected on the Notice of Electronic Filing:

    •   BMO Harris Bank N.A. elizabeth.steel@ge.com
    •   Ronald Walter Brilliant rb@brilliantlawoffice.com
    •   Laura E Burri lburri@morrowfischer.com, klee@morrowfischer.com
    •   Matthew T. Christensen mtc@johnsonmaylaw.com,
        mtcecf@gmail.com;klu@johnsonmaylaw.com;acs@johnsonmaylaw.com;ard@johnsonm
        aylaw.com;ecf@johnsonmaylaw.com;atty_christensen@bluestylus.com;christensenmr81
        164@notify.bestcase.com
    •   Robert A Faucher rfaucher@hollandhart.com,
        boiseintaketeam@hollandhart.com;spturner@hollandhart.com
    •   Kimbell D Gourley kgourley@idalaw.com, shudson@idalaw.com
    •   Daniel C Green dan@racineolson.com, mcl@racinelaw.net
    •   Matthew W Grimshaw matt@grimshawlawgroup.com, ID22@ecfcbis.com
    •   Tara Martens Miller tmmiller@hollandhart.com
    •   Jason Ronald Naess Jason.r.naess@usdoj.gov
    •   Paul J Pascuzzi ppascuzzi@ffwplaw.com, docket@ffwplaw.com
    •   Randall A Peterman rap@givenspursley.com,
        kad@givenspursley.com;wandawhite@givenspursley.com
    •   Kenneth D Peters kpeters@dresslerpeters.com, rmccandless@dresslerpeters.com
    •   Jason E Rios jrios@ffwplaw.com, docket@ffwplaw.com
    •   Tara J. Schleicher tara.schleicher@foster.com, kesarah.rhine@foster.com
    •   Thomas Daniel Smith tom@pocatello-law.com
    •   US Trustee ustp.region18.bs.ecf@usdoj.gov
    •   Brent Russel Wilson bwilson@hawleytroxell.com, randerson@hawleytroxell.com
        Any others as listed on the Court’s ECF Notice.

        I FURTHER CERTIFY that on such date I caused my staff to serve the foregoing on the
 following non-CM/ECF Registered Participants via US Mail, postage prepaid:
 ROCKY MOUNTAIN COMPANIES
 c/o MICHAEL FERY, REGISTERED AGENT
 350 N 9TH STREET, SUITE 200
 BOISE, ID 83702

 I-84 SOUTH, LLC
 350 NORTH 9TH STREET, SUITE 200
 BOISE, ID 83702

 I-84 SOUTH, LLC
 1428 MADISON AVE
 NAMPA, ID 83687

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 I-84 INDUSTRIAL PARK, LLC
 ATTN: LEGAL DEPARTMENT
 350 NORTH 9TH STREET, SUITE 200
 BOISE, IDAHO 83702

 I-84 SOUTH, LLC
 C/O JAMES A. BLAKE, REGISTERED AGENT
 19593 MADISON ROAD
 NAMPA, ID 83687

 I-84 INDUSTRIAL PARK, LLC
 MICHAEL N. FERY, REGISTERED AGENT
 350 N. 9TH ST STE 200
 BOISE, ID 83702

 MICHAEL M. EIDELMAN
 VEDDER PRICE P.C.
 222 N. LASALLE STREET, SUITE 2300
 CHICAGO, IL 60601

 MICHAEL D. LIEFMAN
 VEDDER PRICE P.C.
 222 N. LASALLE STREET, SUITE 2300
 CHICAGO, IL 60601

 PAUL JUDGE
 CFO SOLUTIONS, LLC DBA AMPLEO
 13601 W MCMILLIAN RD #102
 PMB 320
 BOISE, ID 83713

 BRIGETTE MCGRATH
 2600 EAGAN WOODS DRIVE, SUITE 400
 ST. PAUL, MN 55121

 MARK LALUMONDIER
 1305 12TH AVE. RD.
 NAMPA, ID 83686

 DAVID M UNSETH ON BEHALF OF CREDITOR XTRA LEASE LLC
 BRYAN CAVE LEIGHTON PAISNER LLP
 211 N. BROADWAY SUITE 3600
 ST. LOUIS, MO 63102
                                     /s/ Jason E. Rios
                                 Jason E. Rios


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                       EXHIBIT A
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LIQUIDATION ANALYSIS
                                                                                                                               Est. Available for Payout
Assets                                                          Asset Value    % Recovery $ Recovery     Lienholder            FTB/CVF III      Admin. Claims
Cash                                                              $200,000 [1]    100%      $200,000     FTB/CVF III             $200,000
Receivables                                                       $748,378 [1]    85%       $636,121     FTB/CVF III             $636,121
Other Receivables                                                 $119,535 [1]     0%             $0 [4] FTB/CVF III                     $0
Accrued Revenue                                                    $70,741 [1]    85%        $60,130     FTB/CVF III               $60,130
Inventory                                                          $10,000 [1]     0%             $0     FTB/CVF III                     $0
Deposits & Prepaids
  WEX Bank                                                        $325,000 [1]        49%         $160,000                                         $160,000
  Wheels Insurance Ltd                                           $1,472,708 [1]        0%               $0 [4]                  -$240,000          $240,000
  Ryder Equipment Lease Deposit                                   $124,965 [1]         0%               $0     Ryder
  Penske Equipment Lease Deposit                                    $35,000 [1]        0%               $0     Penske
  Other Deposits & Prepaids                                         $49,813 [1]        0%               $0     Other vendors
Investment in Wheels Insurance                                      $36,000 [1]        0%               $0 [4] FTB/CVF III              $0
Est. Recovery from Avoidance of Prepetition Transfers                $9,535           75%           $7,151                                            $7,151
Trucks
  FTB/CVF III-Retain                                                $38,000 [2]       85%          $32,300     FTB/CVF III        $32,300
  FTB/CVF III-Liquidated                                                 $0 [2]        0%               $0     FTB/CVF III             $0
  Diamler                                                          $270,000 [2]        0%               $0 [3] FTB/CVF III             $0
  Diamler-Rejected                                                 $280,000 [2]        0%               $0 [3] FTB/CVF III             $0
  PACCAR-Rejected                                                  $280,000 [2]        0%               $0 [3] FTB/CVF III             $0
  BMO-Rejected                                                     $280,000 [2]        0%               $0 [3] FTB/CVF III             $0
  Ascentium                                                        $270,000 [2]        0%               $0 [3] FTB/CVF III             $0
  Crossroads                                                       $180,000 [2]        0%               $0 [3] FTB/CVF III             $0
  Pawnee                                                           $180,000 [2]        0%               $0 [3] FTB/CVF III             $0
  Alliance                                                         $180,000 [2]        0%               $0 [3] FTB/CVF III             $0
  Pathward National Association                                     $90,000 [2]        0%               $0 [3] FTB/CVF III             $0
  Warranty                                                          $33,110 [1]        0%               $0     FTB/CVF III             $0
Trailers
  Key Bank                                                         $170,000 [2]      74%         $126,058 [3] FTB/CVF III        $126,058
  Wells Fargo                                                       $90,000 [2]       0%               $0 [3] FTB/CVF III              $0
  Other Trailers                                                   $154,048 [1]      25%          $38,512     FTB/CVF III         $38,512
Office & Other Equipment                                            $34,637 [1]      25%           $8,659     FTB/CVF III          $8,659
Collection & Recovery Costs                                       -$145,000          100%       -$145,000     FTB/CVF III       -$145,000
ESTIMATED GROSS PROCEEDS FROM LIQUIDATION                                                      $1,123,932                        $716,781          $407,151

Less FTB/CVF III Secured Lien                                  Secured Lien                    Est. Recovery
 Term Loan                                                        $959,385            75%         $716,781
                                                                  $959,385            75%         $716,781                      -$716,781

Less Administrative Claims                                     Admin Claim                     Est. Recovery
 Est. Cost to Gather & Insure Equipment                          $292,000             24%           $69,098
 Est. Payroll Cost                                               $220,000             24%           $52,060
 Est. Admin. Claim for use of Equipment                          $709,386             24%         $167,866
 Est. Gallagher Fees                                               $77,074            24%           $18,238
 Est. Admin Claims for Professionals                             $422,119             24%           $99,889
                                                                $6,033,679            24%         $407,151                                         -$407,151

Super Priority Claims                                          Super Priority                  Est. Recovery
 FTB/CVF III Super Priority Claim                                 $242,604                0%             $0
                                                                  $242,604                0%             $0

Less Other Priority Claims                                          Priority                   Est. Recovery
 Internal Revenue Service                                           $11,749               0%             $0
 Oregon DOT Claim                                                   $44,102               0%             $0
                                                                    $55,851               0%             $0                                               $0

                                                                 Unsecured                     Est. Recovery
Less General Unsecured Claims                                    $6,293,810               0%             $0                                               $0


Note:
[1] Represented at the forecasted Book Value.
[2] Represented at an estimated Fair Market Value.
[3] FTB/CVF III has a lien over any residual value from the liquidation of equipment.
[4] TBD - Collecting these funds could take three or more years, and is very uncertain.
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                       EXHIBIT B
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Cool Mountain Transport
Cash Basis
(in $)                                   9/30/23     10/31/23    11/30/23    12/31/23      2024         2025         2026         2027         2028
                                                                                                                                              Jan-Aug
Subhaul Revenue                           791,708      892,939     852,315     939,021   12,938,424   15,471,274   17,858,262   20,178,685   15,099,708
Transport Revenue                         407,130      444,056     402,118     431,950    5,241,515    5,370,971    5,387,545    5,380,547    3,667,189
Other Revenue                               2,491        2,770       2,593       2,826       36,845       41,114       45,851       50,477       37,063
Total Revenue                           1,201,328    1,339,766   1,257,026   1,373,797   18,216,783   20,883,360   23,291,658   25,609,710   18,803,959

Cost of Sales
Payroll - Drivers & Shop                  115,146      122,555     111,484     118,865    1,418,999    1,418,473    1,431,659    1,441,155      984,673
Purchased Subhaul Expense                 642,603      723,281     690,375     760,607   10,480,123   12,531,732   14,465,192   16,344,735   12,230,763
Fuel & Fuel Related                       101,872      109,603      99,633     107,090    1,299,922    1,327,108    1,363,400    1,396,010      970,215
Leased & Rented Equipment                  12,760       14,062      15,110      15,812      257,353      295,397      358,342      421,256      311,915
Repairs & Maintenance                      42,703       46,423      42,630      46,050      573,693      605,970      643,480      679,330      483,615
Insurance                                  87,886      111,886      87,886      87,886    1,125,976    1,154,386    1,182,796    1,211,206      815,921
Licenses & Permits                         20,833       20,833      20,833      20,833      288,000      288,000      288,000      288,000      204,667
Other Direct Costs                         31,517       34,566      32,733      35,302      461,180      518,781      571,684      622,672      453,142
Total Cost of Sales                     1,055,320    1,183,209   1,100,685   1,192,446   15,905,245   18,139,848   20,304,554   22,404,364   16,454,911
Gross Profit                              146,008      156,557     156,341     181,351    2,311,538    2,743,512    2,987,104    3,205,346    2,349,049
                         Gross Margin       12.2%        11.7%       12.4%       13.2%        12.7%        13.1%        12.8%        12.5%        12.5%

SG&A Expenses
Payroll - Non-Drivers                      72,046      72,046      72,046      72,047       902,935      892,894      977,910    1,062,926      746,402
Outside Admin Services                      2,310       2,310       2,310       2,310        28,560       31,080       33,600       36,120       25,200
Facilities Expenses                        10,923      10,923      10,923      10,923       135,048      146,964      158,880      170,796      119,160
Legal & Professional Expenses               2,750       2,750       2,750       2,750        34,000       37,000       40,000       43,000       30,000
Other SG&A Expenses                         8,360       8,360       8,360       8,360       103,360      112,480      121,600      130,720       91,200
Total SG&A Expenses                        96,389      96,389      96,389      96,390     1,203,903    1,220,418    1,331,990    1,443,562    1,011,962
NET OPERATING INCOME                       49,619      60,168      59,952      84,961     1,107,635    1,523,094    1,655,114    1,761,785    1,337,087

Other Expenses/Income
Equipment P&I Payments-Other               49,574      43,450      43,281      43,281      519,377       516,309      358,909     104,096             0
Bankruptcy Professional Fees & Costs      200,000           0           0           0      150,000        72,119            0           0             0
Secured Lender                                  0           0           0           0      100,315       231,047      914,183           0             0
Financed Equipment Secured Claims         221,319           0           0           0       33,260             0            0           0             0
Leased Equipment Claims                   142,647       8,283       8,283       8,283       99,397        99,397       99,397      99,397        66,265
Other Priority & Secured Claims            53,948           0           0           0            0             0            0           0             0
Other Expenses/(Income)                     6,000       6,000       6,000       6,000       86,000        96,000       96,000      96,000        64,000
Total Other Expenses/Income               673,487      57,733      57,565      57,565      988,349     1,014,872    1,468,489     299,493       130,265

NET (CASH) INCOME                        (623,868)      2,435       2,387      27,396      119,286      508,222      186,625     1,462,291    1,206,822

CASH BALANCE
Beginning Cash                             207,823     200,000     200,000     241,049      206,919      317,983      689,639      465,219      568,226
Cash Collections                         1,209,296   1,263,037   1,295,687   1,312,271   18,098,511   20,746,794   23,180,614   25,450,425   18,656,018
TI Cash Contributions                      608,076      74,294           0           0      110,049            0            0            0            0
Reserves for Equipment Replacement               0           0           0           0            0            0     (150,000)    (400,000)    (300,000)
Cash Expenditures                       (1,825,196) (1,337,331) (1,254,639) (1,346,400) (18,097,497) (20,375,138) (23,105,033) (24,147,418) (17,597,137)
Est. Unsecured Creditors Payout                  0           0           0           0            0            0     (150,000)    (800,000)    (750,000)
Ending Cash                                200,000     200,000     241,049     206,919      317,983      689,639      465,219      568,226      577,107
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                                      5/31/23    6/30/23     7/31/23    8/31/23      9/30/23 10/31/23 11/30/23 12/31/23             1/31/24    2/29/24    3/31/24    4/30/24    5/31/24    6/30/24      7/31/24     8/31/24       9/30/24      10/31/24      11/30/24      12/31/24     1/31/25    2/28/25    3/31/25    4/30/25

SECURED CREDIT FACILITY
Fifth Third Original Peterbilt Loan
                Principal Balance 938,609        927,718         0            0             0           0           0           0         0          0          0          0          0          0           0            0             0             0             0             0           0          0          0          0
              Scheduled Payment     (10,512)     (19,495) (927,718)           0             0           0           0           0         0          0          0          0          0          0           0            0             0             0             0             0           0          0          0          0

New Secured Term Loan
             Principal Balance              0           0    959,385    967,380     975,441     983,570     991,766 1,000,031 1,008,365 1,016,768 1,025,241 1,033,784 1,042,399 1,051,086             1,059,845   1,048,424     1,037,002     1,025,581     1,014,160     1,002,739     991,317    979,896    968,475    957,054
           Scheduled Payment                0           0    959,385          0           0           0           0         0         0         0         0         0         0         0                     0      (20,253)      (20,158)      (20,063)      (19,968)      (19,873)   (19,777)   (19,682)   (19,587)   (19,492)

Fifth Third M&E Loan
               Principal Balance       38,000     31,667           0          0             0           0           0           0         0          0          0          0          0          0           0            0             0             0             0             0           0          0          0          0
             Scheduled Payment         (6,599)    (6,561)    (31,667)         0             0           0           0           0         0          0          0          0          0          0           0            0             0             0             0             0           0          0          0          0

Fifth Third Revolver Line of Credit
                Principal Balance           0           0          0          0             0           0           0           0         0          0          0          0          0          0           0            0             0             0             0             0           0          0          0          0
              Scheduled Payment        (4,311)     (4,808)         0          0             0           0           0           0         0          0          0          0          0          0           0            0             0             0             0             0           0          0          0          0

OTHER FINANCE VENDORS
Mercedes Benz Financial Services4 Tractors Returned
               Principal Balance         0          0              0          0             0           0           0           0         0          0          0          0          0          0           0            0             0             0             0             0           0          0          0          0
 Scheduled Stipulation Payment           0          0              0          0             0           0           0           0         0          0          0          0          0          0           0            0             0             0             0             0           0          0          0          0
   Scheduled Catch-up Payment            0          0              0          0      (34,579)           0           0           0         0          0          0          0          0          0           0            0             0             0             0             0           0          0          0          0
                                                                                   Gets vendor to 50% of Administrative Claim
Mercedes Benz Financial Services USA LLC
              Principal Balance 116,894          117,639     115,647    113,666     103,523     101,444       99,373      97,269     95,172     93,061     90,899     88,761     86,591     84,426      82,229       80,036        77,829        75,592        73,356        71,092      68,827     66,549     64,215     61,907
Scheduled Stipulation Payment            0             0      (2,717)    (2,717)     (2,717)     (2,717)      (2,717)     (2,717)    (2,717)    (2,717)    (2,717)    (2,717)    (2,717)    (2,717)     (2,717)      (2,717)       (2,717)       (2,717)       (2,717)       (2,717)     (2,717)    (2,717)    (2,717)    (2,717)
  Scheduled Catch-up Payment             0             0           0          0      (8,151)          0            0           0          0          0          0          0          0          0           0            0             0             0             0             0           0          0          0          0

Daimler Tractor Financial Services USA LLC
               Principal Balance 289,382         291,283     286,980    282,648     253,425     248,873     244,291     239,680     235,038    230,365    225,662    220,928    216,163    211,367     206,539     201,679       196,787       191,864       186,908       181,919      176,898    171,844    166,756    161,635
 Scheduled Stipulation Payment             0           0      (6,216)    (6,216)     (6,216)     (6,216)     (6,216)     (6,216)     (6,216)    (6,216)    (6,216)    (6,216)    (6,216)    (6,216)     (6,216)     (6,216)       (6,216)       (6,216)       (6,216)       (6,216)      (6,216)    (6,216)    (6,216)    (6,216)
   Scheduled Catch-up Payment              0           0           0          0     (24,864)          0           0           0           0          0          0          0          0          0           0           0             0             0             0             0            0          0          0          0

PACCAR                              4 Tractors Returned
               Principal Balance             0          0          0          0             0           0           0           0         0          0          0          0          0          0           0            0             0             0             0             0           0          0          0          0
 Scheduled Stipulation Payment               0          0          0          0             0           0           0           0         0          0          0          0          0          0           0            0             0             0             0             0           0          0          0          0
   Scheduled Catch-up Payment                0          0          0          0             0           0           0           0         0          0          0          0          0          0           0            0             0             0             0             0           0          0          0          0

BMO                                 4 Tractors Returned
               Principal Balance             0          0          0          0             0           0           0           0         0          0          0          0          0          0           0            0             0             0             0             0           0          0          0          0
 Scheduled Stipulation Payment               0          0          0          0             0           0           0           0         0          0          0          0          0          0           0            0             0             0             0             0           0          0          0          0
   Scheduled Catch-up Payment                0          0          0          0      (30,664)           0           0           0         0          0          0          0          0          0           0            0             0             0             0             0           0          0          0          0
                                                                                   Gets vendor to 50% of Administrative Claim
Ascentium
               Principal Balance      375,588    378,130     371,534    364,894     335,323     328,438     321,507     314,528     307,502    300,429    293,307    286,138    278,920    271,653     264,337     256,972       249,556       242,091       234,575       227,008      219,390    211,720    203,998    196,225
 Scheduled Stipulation Payment              0          0      (9,154)    (9,154)     (9,154)     (9,154)     (9,154)     (9,154)     (9,154)    (9,154)    (9,154)    (9,154)    (9,154)    (9,154)     (9,154)     (9,154)       (9,154)       (9,154)       (9,154)       (9,154)      (9,154)    (9,154)    (9,154)    (9,154)
   Scheduled Catch-up Payment               0          0           0          0     (22,886)          0           0           0           0          0          0          0          0          0           0           0             0             0             0             0            0          0          0          0

Crossroads
               Principal Balance      241,870    243,331     238,792    234,225     205,591     200,824     196,027     191,202     184,094    176,943    169,749    162,511    155,229    147,904     140,534     133,120       125,661       118,157       110,607       103,012       97,625     92,205     86,753     81,267
 Scheduled Stipulation Payment              0          0      (6,010)    (6,010)     (6,010)     (6,010)     (6,010)     (6,010)     (6,010)    (6,010)    (6,010)    (6,010)    (6,010)    (6,010)     (6,010)     (6,010)       (6,010)       (6,010)       (6,010)       (6,010)      (6,010)    (6,010)    (6,010)    (6,010)
   Scheduled Catch-up Payment               0          0           0          0     (24,039)          0           0           0      (2,254)    (2,254)    (2,254)    (2,254)    (2,254)    (2,254)     (2,254)     (2,254)       (2,254)       (2,254)       (2,254)       (2,254)           0          0          0          0

Pawnee - Capital Lease
               Principal Balance      229,555    224,572     219,562    214,526     190,812     185,620     180,401     175,154     168,843    162,498    156,118    149,704    143,256    136,773     131,292     125,781       120,240       114,670       109,069       103,439       97,778     92,087     86,365     80,612
 Scheduled Stipulation Payment              0     (6,217)     (6,217)    (6,217)     (6,217)     (6,217)     (6,217)     (6,217)     (6,217)    (6,217)    (6,217)    (6,217)    (6,217)    (6,217)     (6,217)     (6,217)       (6,217)       (6,217)       (6,217)       (6,217)      (6,217)    (6,217)    (6,217)    (6,217)
   Scheduled Catch-up Payment               0          0           0          0     (18,651)          0           0           0      (1,036)    (1,036)    (1,036)    (1,036)    (1,036)    (1,036)          0           0             0             0             0             0            0          0          0          0

Alliance - Capital Lease
                Principal Balance     224,713    216,503     208,233    203,170     188,216     183,007     177,760     172,474     167,150    161,786    156,384    150,942    145,460    139,938     134,376     128,772       123,128       117,443       111,716       105,947      100,136     94,282     88,385     82,446
 Scheduled Stipulation Payment         (9,855)    (9,855)     (9,855)    (6,587)     (6,587)     (6,587)     (6,587)     (6,587)     (6,587)    (6,587)    (6,587)    (6,587)    (6,587)    (6,587)     (6,587)     (6,587)       (6,587)       (6,587)       (6,587)       (6,587)      (6,587)    (6,587)    (6,587)    (6,587)
    Scheduled Catch-up Payment              0          0           0          0      (9,855)          0           0           0           0          0          0          0          0          0           0           0             0             0             0             0            0          0          0          0

Pathward
               Principal Balance      125,674    126,538     124,345    122,137     110,726     108,424     106,107     103,773     101,424     99,059     96,677     94,279     91,864     89,433      86,985       84,520        82,038        79,540        77,024        74,490      71,940     69,372     66,786     64,182
 Scheduled Stipulation Payment              0          0      (3,063)    (3,063)     (3,063)     (3,063)     (3,063)     (3,063)     (3,063)    (3,063)    (3,063)    (3,063)    (3,063)    (3,063)     (3,063)      (3,063)       (3,063)       (3,063)       (3,063)       (3,063)     (3,063)    (3,063)    (3,063)    (3,063)
   Scheduled Catch-up Payment               0          0           0          0      (9,188)          0           0           0           0          0          0          0          0          0           0            0             0             0             0             0           0          0          0          0

Key Bank
               Principal Balance       43,942     44,088      37,796     31,630          168           0            0           0         0          0          0          0          0          0           0            0             0             0             0             0           0          0          0          0
 Scheduled Stipulation Payment              0          0      (6,292)    (6,292)      (6,292)       (169)           0           0         0          0          0          0          0          0           0            0             0             0             0             0           0          0          0          0
   Scheduled Catch-up Payment               0          0           0          0      (25,169)          0            0           0         0          0          0          0          0          0           0            0             0             0             0             0           0          0          0          0

Key Bank 2                          Last payment made in January
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                                              5/31/23      6/30/23     7/31/23      8/31/23     9/30/23 10/31/23 11/30/23 12/31/23                 1/31/24    2/29/24    3/31/24    4/30/24    5/31/24    6/30/24    7/31/24    8/31/24    9/30/24    10/31/24    11/30/24    12/31/24    1/31/25    2/28/25    3/31/25    4/30/25
                        Principal Balance          0            0           0            0           0        0        0        0                       0          0          0          0          0          0          0          0          0           0           0           0          0          0          0          0
          Scheduled Stipulation Payment            0            0           0            0           0        0        0        0                       0          0          0          0          0          0          0          0          0           0           0           0          0          0          0          0
            Scheduled Catch-up Payment             0            0           0            0           0        0        0        0                       0          0          0          0          0          0          0          0          0           0           0           0          0          0          0          0

         Wells Fargo
                        Principal Balance     103,971     104,362      101,436       98,499       82,277         79,268    76,247      73,215      70,172     67,117     64,051     60,973     57,884     54,783     51,671     48,547     45,411      42,263      39,103      35,932     32,748     29,553     26,346     23,126
          Scheduled Stipulation Payment             0           0       (3,318)      (3,318)      (3,318)        (3,318)   (3,318)     (3,318)     (3,318)    (3,318)    (3,318)    (3,318)    (3,318)    (3,318)    (3,318)    (3,318)    (3,318)     (3,318)     (3,318)     (3,318)    (3,318)    (3,318)    (3,318)    (3,318)
            Scheduled Catch-up Payment              0           0            0            0      (13,274)             0         0           0           0          0          0          0          0          0          0          0          0           0           0           0          0          0          0          0

         LEASE VENDORS
         Ryder
        Recognized Administrative Claim                            $345,485
                            Payout terms                          Paid monthly in equal installments over five years.
                                   Notes 4 + 15 Tractors returned Starting upon Plan confirmation
           Scheduled Estimated Payment             0           0            0          0            0            0              0           0            0          0          0          0          0          0          0          0          0           0           0           0          0          0          0          0
Scheduled Administrative Claim Payment*            0           0            0          0       (5,758)      (5,758)        (5,758)     (5,758)      (5,758)    (5,758)    (5,758)    (5,758)    (5,758)    (5,758)    (5,758)    (5,758)    (5,758)     (5,758)     (5,758)     (5,758)    (5,758)    (5,758)    (5,758)    (5,758)

         Penske
                    Reject 5 of 9 Trailers               5 trailers returned this month
          Scheduled Estimated Payment*               0      (11,551)       (4,041)    (4,178)  (4,107)           (4,209)   (4,057)     (4,159)      (4,134)    (4,085)    (4,186)    (4,136)    (4,137)    (4,137)    (4,137)    (4,187)    (4,088)     (4,189)     (4,038)     (4,088)    (4,139)    (4,039)    (4,190)    (4,120)
           Scheduled Catch-up Payment*               0              0           0          0 (110,890)                0         0           0            0          0          0          0          0          0          0          0          0           0           0           0          0          0          0          0

         Penske
               Reject 9 Tractors (original)
          Scheduled Estimated Payment*               0           0            0            0           0              0         0            0           0          0          0          0          0          0          0          0          0           0           0           0          0          0          0          0
           Scheduled Catch-up Payment*               0           0            0            0           0              0         0            0           0          0          0          0    (21,772)         0          0          0          0           0           0           0          0          0          0          0

         XTRA Lease
         Recognized Administrative Claim                                                        $151,500
                           Payout terms                                                       Paid monthly in equal installments over five years
                                   Notes 4 rent Trailers returned, 31 leased Trailers rejected.Starting upon Plan confirmation
             Reject 31 remaining Trailers          4           11           20             0             0          0           0            0           0          0          0          0          0          0          0          0          0           0           0           0          0          0          0          0
          Scheduled Estimated Payment*             0            0            0             0             0          0           0            0           0          0          0          0          0          0          0          0          0           0           0           0          0          0          0          0
           Scheduled Catch-up Payment*             0            0            0             0       (2,525)     (2,525)     (2,525)      (2,525)     (2,525)    (2,525)    (2,525)    (2,525)    (2,525)    (2,525)    (2,525)    (2,525)    (2,525)     (2,525)     (2,525)     (2,525)    (2,525)    (2,525)    (2,525)    (2,525)

         McKinney
          Scheduled Estimated Payment*               0      (8,053)      (8,053)     (8,053)      (8,053)        (8,053)   (8,053)     (8,053)      (8,053)    (8,053)    (8,053)    (8,053)    (8,053)    (8,053)    (8,053)    (8,053)    (8,053)     (8,053)     (8,053)     (8,053)    (8,053)    (8,053)    (8,053)    (8,053)
           Scheduled Catch-up Payment*               0           0            0           0      (23,473)             0         0           0            0          0          0          0          0          0          0          0          0           0           0           0          0          0          0          0

                                    Notes: * Includes estimated tax, mileage and reefer expense if applicable.
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                                      5/31/25     6/30/25     7/31/25    8/31/25    9/30/25    10/31/25    11/30/25   12/31/25   1/31/26    2/28/26    3/31/26    4/30/26    5/31/26    6/30/26    7/31/26     8/31/26   9/30/26   10/31/26   11/30/26   12/31/26    1/31/27

SECURED CREDIT FACILITY
Fifth Third Original Peterbilt Loan
                Principal Balance           0           0           0          0          0          0           0          0          0          0          0          0          0          0           0         0         0          0          0           0          0
              Scheduled Payment             0           0           0          0          0          0           0          0          0          0          0          0          0          0           0         0         0          0          0           0          0

New Secured Term Loan
             Principal Balance        945,632     934,211     922,790    911,369    899,947    888,526     877,105    865,684    854,262    842,841    831,420    819,999    808,577    797,156           0         0         0          0          0           0          0
           Scheduled Payment          (19,397)    (19,302)    (19,206)   (19,111)   (19,016)   (18,921)    (18,826)   (18,730)   (18,635)   (18,540)   (18,445)   (18,350)   (18,255)   (18,159)   (803,799)        0         0          0          0           0          0

Fifth Third M&E Loan
               Principal Balance            0           0           0          0          0          0           0          0          0          0          0          0          0          0           0         0         0          0          0           0          0
             Scheduled Payment              0           0           0          0          0          0           0          0          0          0          0          0          0          0           0         0         0          0          0           0          0

Fifth Third Revolver Line of Credit
                Principal Balance           0           0           0          0          0          0           0          0          0          0          0          0          0          0           0         0         0          0          0           0          0
              Scheduled Payment             0           0           0          0          0          0           0          0          0          0          0          0          0          0           0         0         0          0          0           0          0

OTHER FINANCE VENDORS
Mercedes Benz Financial Services
               Principal Balance            0           0           0          0          0          0           0          0          0          0          0          0          0          0           0         0         0          0          0           0          0
 Scheduled Stipulation Payment              0           0           0          0          0          0           0          0          0          0          0          0          0          0           0         0         0          0          0           0          0
   Scheduled Catch-up Payment               0           0           0          0          0          0           0          0          0          0          0          0          0          0           0         0         0          0          0           0          0

Mercedes Benz Financial Services USA LLC
              Principal Balance      59,572        57,234      54,870     52,503     50,120     47,712      45,299     42,862     40,418     37,958     35,460     32,969     30,455     27,932     25,387     22,832    20,261     17,669     15,064     12,440       9,803
Scheduled Stipulation Payment         (2,717)      (2,717)     (2,717)    (2,717)    (2,717)    (2,717)     (2,717)    (2,717)    (2,717)    (2,717)    (2,717)    (2,717)    (2,717)    (2,717)    (2,717)    (2,717)   (2,717)    (2,717)    (2,717)    (2,717)     (2,717)
  Scheduled Catch-up Payment               0            0           0          0          0          0           0          0          0          0          0          0          0          0          0          0         0          0          0          0           0

Daimler Tractor Financial Services USA LLC
               Principal Balance     156,481      151,293     146,070    140,814    135,522    130,196     124,835    119,439    114,008    108,540    103,037     97,498     91,922     86,310     80,661     74,975    69,251     63,490     57,691     51,854     45,979
 Scheduled Stipulation Payment          (6,216)    (6,216)     (6,216)    (6,216)    (6,216)    (6,216)     (6,216)    (6,216)    (6,216)    (6,216)    (6,216)    (6,216)    (6,216)    (6,216)    (6,216)    (6,216)   (6,216)    (6,216)    (6,216)    (6,216)    (6,216)
   Scheduled Catch-up Payment                0          0           0          0          0          0           0          0          0          0          0          0          0          0          0          0         0          0          0          0          0

PACCAR
               Principal Balance            0           0           0          0          0          0           0          0          0          0          0          0          0          0           0         0         0          0          0           0          0
 Scheduled Stipulation Payment              0           0           0          0          0          0           0          0          0          0          0          0          0          0           0         0         0          0          0           0          0
   Scheduled Catch-up Payment               0           0           0          0          0          0           0          0          0          0          0          0          0          0           0         0         0          0          0           0          0

BMO
               Principal Balance            0           0           0          0          0          0           0          0          0          0          0          0          0          0           0         0         0          0          0           0          0
 Scheduled Stipulation Payment              0           0           0          0          0          0           0          0          0          0          0          0          0          0           0         0         0          0          0           0          0
   Scheduled Catch-up Payment               0           0           0          0          0          0           0          0          0          0          0          0          0          0           0         0         0          0          0           0          0

Ascentium
               Principal Balance      188,398     180,519     172,586    164,600    156,559    148,464     140,315    132,110    123,849    115,533    107,161     98,732     90,245     81,702     73,100     64,441    55,722     46,945     38,108     29,212     20,255
 Scheduled Stipulation Payment         (9,154)     (9,154)     (9,154)    (9,154)    (9,154)    (9,154)     (9,154)    (9,154)    (9,154)    (9,154)    (9,154)    (9,154)    (9,154)    (9,154)    (9,154)    (9,154)   (9,154)    (9,154)    (9,154)    (9,154)    (9,154)
   Scheduled Catch-up Payment               0           0           0          0          0          0           0          0          0          0          0          0          0          0          0          0         0          0          0          0          0

Crossroads
               Principal Balance       75,748      70,196      64,611     58,992     53,338     47,651      41,929     36,173     30,382     24,556     18,694     12,797      6,865        897           0         0         0          0          0           0          0
 Scheduled Stipulation Payment         (6,010)     (6,010)     (6,010)    (6,010)    (6,010)    (6,010)     (6,010)    (6,010)    (6,010)    (6,010)    (6,010)    (6,010)    (6,010)    (6,010)       (902)        0         0          0          0           0          0
   Scheduled Catch-up Payment               0           0           0          0          0          0           0          0          0          0          0          0          0          0           0         0         0          0          0           0          0

Pawnee - Capital Lease
               Principal Balance       74,829      69,014      63,168     57,291     51,382     45,441      39,469     33,464     27,427     21,357     15,255      9,121      2,953          0           0         0         0          0          0           0          0
 Scheduled Stipulation Payment         (6,217)     (6,217)     (6,217)    (6,217)    (6,217)    (6,217)     (6,217)    (6,217)    (6,217)    (6,217)    (6,217)    (6,217)    (6,217)    (2,969)          0         0         0          0          0           0          0
   Scheduled Catch-up Payment               0           0           0          0          0          0           0          0          0          0          0          0          0          0           0         0         0          0          0           0          0

Alliance - Capital Lease
                Principal Balance      76,463      70,436      64,365     58,249     52,089     45,883      39,633     33,336     26,993     20,604     14,169      7,686      1,155          0           0         0         0          0          0           0          0
 Scheduled Stipulation Payment         (6,587)     (6,587)     (6,587)    (6,587)    (6,587)    (6,587)     (6,587)    (6,587)    (6,587)    (6,587)    (6,587)    (6,587)    (6,587)    (1,164)          0         0         0          0          0           0          0
    Scheduled Catch-up Payment              0           0           0          0          0          0           0          0          0          0          0          0          0          0           0         0         0          0          0           0          0

Pathward
               Principal Balance       61,561      58,921      56,263     53,587     50,893     48,180      45,449     42,698     39,929     37,141     34,333     31,507     28,660     25,795     22,909     20,004    17,079     14,133     11,168       8,182      5,175
 Scheduled Stipulation Payment         (3,063)     (3,063)     (3,063)    (3,063)    (3,063)    (3,063)     (3,063)    (3,063)    (3,063)    (3,063)    (3,063)    (3,063)    (3,063)    (3,063)    (3,063)    (3,063)   (3,063)    (3,063)    (3,063)     (3,063)    (3,063)
   Scheduled Catch-up Payment               0           0           0          0          0          0           0          0          0          0          0          0          0          0          0          0         0          0          0           0          0

Key Bank
               Principal Balance            0           0           0          0          0          0           0          0          0          0          0          0          0          0           0         0         0          0          0           0          0
 Scheduled Stipulation Payment              0           0           0          0          0          0           0          0          0          0          0          0          0          0           0         0         0          0          0           0          0
   Scheduled Catch-up Payment               0           0           0          0          0          0           0          0          0          0          0          0          0          0           0         0         0          0          0           0          0

Key Bank 2
                                                                    Case 22-00346-NGH                             Doc 278 Filed 07/18/23 Entered 07/18/23 14:01:21                                                         Desc Main
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                                              5/31/25    6/30/25     7/31/25    8/31/25    9/30/25    10/31/25     11/30/25    12/31/25    1/31/26    2/28/26    3/31/26    4/30/26    5/31/26    6/30/26    7/31/26    8/31/26    9/30/26    10/31/26    11/30/26    12/31/26    1/31/27
                        Principal Balance          0          0           0          0          0           0            0           0          0          0          0          0          0          0          0          0          0           0           0           0          0
          Scheduled Stipulation Payment            0          0           0          0          0           0            0           0          0          0          0          0          0          0          0          0          0           0           0           0          0
            Scheduled Catch-up Payment             0          0           0          0          0           0            0           0          0          0          0          0          0          0          0          0          0           0           0           0          0

         Wells Fargo
                        Principal Balance     19,895     16,651      13,395     10,127       6,847       3,554          249          0           0          0          0          0          0          0          0          0          0           0           0           0          0
          Scheduled Stipulation Payment       (3,318)    (3,318)     (3,318)    (3,318)     (3,318)     (3,318)      (3,318)      (250)          0          0          0          0          0          0          0          0          0           0           0           0          0
            Scheduled Catch-up Payment             0          0           0          0           0           0            0          0           0          0          0          0          0          0          0          0          0           0           0           0          0

         LEASE VENDORS
         Ryder
        Recognized Administrative Claim
                            Payout terms
                                   Notes
           Scheduled Estimated Payment              0          0           0          0          0           0            0           0          0          0          0          0          0          0          0          0          0           0           0           0          0
Scheduled Administrative Claim Payment*        (5,758)    (5,758)     (5,758)    (5,758)    (5,758)     (5,758)      (5,758)     (5,758)    (5,758)    (5,758)    (5,758)    (5,758)    (5,758)    (5,758)    (5,758)    (5,758)    (5,758)     (5,758)     (5,758)     (5,758)    (5,758)

         Penske
                    Reject 5 of 9 Trailers
          Scheduled Estimated Payment*         (4,120)    (4,120)     (4,121)    (4,171)    (4,071)     (4,172)      (4,023)     (4,073)    (4,124)    (4,024)    (4,174)    (4,125)    (4,125)    (4,125)    (4,158)    (4,158)    (4,059)     (4,159)     (4,011)     (4,061)    (4,111)
           Scheduled Catch-up Payment*              0          0           0          0          0           0            0           0          0          0          0          0          0          0          0          0          0           0           0           0          0

         Penske
               Reject 9 Tractors (original)
          Scheduled Estimated Payment*              0          0           0          0          0           0            0           0          0          0          0          0          0          0          0          0          0           0           0           0          0
           Scheduled Catch-up Payment*              0          0           0          0          0           0            0           0          0          0          0          0          0          0          0          0          0           0           0           0          0

        XTRA Lease
        Recognized Administrative Claim
                          Payout terms
                                  Notes
            Reject 31 remaining Trailers            0          0           0          0          0           0            0           0          0          0          0          0          0          0          0          0          0           0           0           0          0
         Scheduled Estimated Payment*               0          0           0          0          0           0            0           0          0          0          0          0          0          0          0          0          0           0           0           0          0
          Scheduled Catch-up Payment*          (2,525)    (2,525)     (2,525)    (2,525)    (2,525)     (2,525)      (2,525)     (2,525)    (2,525)    (2,525)    (2,525)    (2,525)    (2,525)    (2,525)    (2,525)    (2,525)    (2,525)     (2,525)     (2,525)     (2,525)    (2,525)

         McKinney
          Scheduled Estimated Payment*         (8,053)    (8,053)     (8,053)    (8,053)    (8,053)     (8,053)      (8,053)     (8,053)    (8,053)    (8,053)    (8,053)    (8,053)    (8,053)    (8,053)    (8,053)    (8,053)    (8,053)     (8,053)     (8,053)     (8,053)    (8,053)
           Scheduled Catch-up Payment*              0          0           0          0          0           0            0           0          0          0          0          0          0          0          0          0          0           0           0           0          0

                                    Notes:
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SECURED CREDIT FACILITY
Fifth Third Original Peterbilt Loan
                Principal Balance           0           0           0          0         0          0           0          0          0          0          0         0         0         0         0         0         0         0         0
              Scheduled Payment             0           0           0          0         0          0           0          0          0          0          0         0         0         0         0         0         0         0         0

New Secured Term Loan
             Principal Balance              0           0           0          0         0          0           0          0          0          0          0         0         0         0         0         0         0         0         0
           Scheduled Payment                0           0           0          0         0          0           0          0          0          0          0         0         0         0         0         0         0         0         0

Fifth Third M&E Loan
               Principal Balance            0           0           0          0         0          0           0          0          0          0          0         0         0         0         0         0         0         0         0
             Scheduled Payment              0           0           0          0         0          0           0          0          0          0          0         0         0         0         0         0         0         0         0

Fifth Third Revolver Line of Credit
                Principal Balance           0           0           0          0         0          0           0          0          0          0          0         0         0         0         0         0         0         0         0
              Scheduled Payment             0           0           0          0         0          0           0          0          0          0          0         0         0         0         0         0         0         0         0

OTHER FINANCE VENDORS
Mercedes Benz Financial Services
               Principal Balance            0           0           0          0         0          0           0          0          0          0          0         0         0         0         0         0         0         0         0
 Scheduled Stipulation Payment              0           0           0          0         0          0           0          0          0          0          0         0         0         0         0         0         0         0         0
   Scheduled Catch-up Payment               0           0           0          0         0          0           0          0          0          0          0         0         0         0         0         0         0         0         0

Mercedes Benz Financial Services USA LLC
              Principal Balance        7,148        4,472       1,784          0         0          0           0          0          0          0          0         0         0         0         0         0         0         0         0
Scheduled Stipulation Payment         (2,717)      (2,717)     (2,717)    (1,795)        0          0           0          0          0          0          0         0         0         0         0         0         0         0         0
  Scheduled Catch-up Payment               0            0           0          0         0          0           0          0          0          0          0         0         0         0         0         0         0         0         0

Daimler Tractor Financial Services USA LLC
               Principal Balance       40,065     34,112      28,120     22,089     16,018      9,907       3,756          0          0          0          0         0         0         0         0         0         0         0         0
 Scheduled Stipulation Payment          (6,216)   (6,216)     (6,216)    (6,216)    (6,216)    (6,216)     (6,216)    (3,781)         0          0          0         0         0         0         0         0         0         0         0
   Scheduled Catch-up Payment                0         0           0          0          0          0           0          0          0          0          0         0         0         0         0         0         0         0         0

PACCAR
               Principal Balance            0           0           0          0         0          0           0          0          0          0          0         0         0         0         0         0         0         0         0
 Scheduled Stipulation Payment              0           0           0          0         0          0           0          0          0          0          0         0         0         0         0         0         0         0         0
   Scheduled Catch-up Payment               0           0           0          0         0          0           0          0          0          0          0         0         0         0         0         0         0         0         0

BMO
               Principal Balance            0           0           0          0         0          0           0          0          0          0          0         0         0         0         0         0         0         0         0
 Scheduled Stipulation Payment              0           0           0          0         0          0           0          0          0          0          0         0         0         0         0         0         0         0         0
   Scheduled Catch-up Payment               0           0           0          0         0          0           0          0          0          0          0         0         0         0         0         0         0         0         0

Ascentium
               Principal Balance       11,238       2,160           0          0         0          0           0          0          0          0          0         0         0         0         0         0         0         0         0
 Scheduled Stipulation Payment         (9,154)     (9,154)     (2,174)         0         0          0           0          0          0          0          0         0         0         0         0         0         0         0         0
   Scheduled Catch-up Payment               0           0           0          0         0          0           0          0          0          0          0         0         0         0         0         0         0         0         0

Crossroads
               Principal Balance            0           0           0          0         0          0           0          0          0          0          0         0         0         0         0         0         0         0         0
 Scheduled Stipulation Payment              0           0           0          0         0          0           0          0          0          0          0         0         0         0         0         0         0         0         0
   Scheduled Catch-up Payment               0           0           0          0         0          0           0          0          0          0          0         0         0         0         0         0         0         0         0

Pawnee - Capital Lease
               Principal Balance            0           0           0          0         0          0           0          0          0          0          0         0         0         0         0         0         0         0         0
 Scheduled Stipulation Payment              0           0           0          0         0          0           0          0          0          0          0         0         0         0         0         0         0         0         0
   Scheduled Catch-up Payment               0           0           0          0         0          0           0          0          0          0          0         0         0         0         0         0         0         0         0

Alliance - Capital Lease
                Principal Balance           0           0           0          0         0          0           0          0          0          0          0         0         0         0         0         0         0         0         0
 Scheduled Stipulation Payment              0           0           0          0         0          0           0          0          0          0          0         0         0         0         0         0         0         0         0
    Scheduled Catch-up Payment              0           0           0          0         0          0           0          0          0          0          0         0         0         0         0         0         0         0         0

Pathward
               Principal Balance        2,148           0           0          0         0          0           0          0          0          0          0         0         0         0         0         0         0         0         0
 Scheduled Stipulation Payment         (3,063)     (2,163)          0          0         0          0           0          0          0          0          0         0         0         0         0         0         0         0         0
   Scheduled Catch-up Payment               0           0           0          0         0          0           0          0          0          0          0         0         0         0         0         0         0         0         0

Key Bank
               Principal Balance            0           0           0          0         0          0           0          0          0          0          0         0         0         0         0         0         0         0         0
 Scheduled Stipulation Payment              0           0           0          0         0          0           0          0          0          0          0         0         0         0         0         0         0         0         0
   Scheduled Catch-up Payment               0           0           0          0         0          0           0          0          0          0          0         0         0         0         0         0         0         0         0

Key Bank 2
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                        Principal Balance          0          0           0          0          0          0           0          0           0           0           0          0          0          0          0          0          0          0          0
          Scheduled Stipulation Payment            0          0           0          0          0          0           0          0           0           0           0          0          0          0          0          0          0          0          0
            Scheduled Catch-up Payment             0          0           0          0          0          0           0          0           0           0           0          0          0          0          0          0          0          0          0

         Wells Fargo
                        Principal Balance           0          0           0          0          0          0           0          0           0           0           0          0          0          0          0          0          0          0          0
          Scheduled Stipulation Payment             0          0           0          0          0          0           0          0           0           0           0          0          0          0          0          0          0          0          0
            Scheduled Catch-up Payment              0          0           0          0          0          0           0          0           0           0           0          0          0          0          0          0          0          0          0

         LEASE VENDORS
         Ryder
        Recognized Administrative Claim
                            Payout terms
                                   Notes
           Scheduled Estimated Payment              0          0           0          0          0          0           0          0           0           0           0          0          0          0          0          0          0          0          0
Scheduled Administrative Claim Payment*        (5,758)    (5,758)     (5,758)    (5,758)    (5,758)    (5,758)     (5,758)    (5,758)     (5,758)     (5,758)     (5,758)    (5,758)    (5,758)    (5,758)    (5,758)    (5,758)    (5,758)    (5,758)    (5,758)

         Penske
                    Reject 5 of 9 Trailers
          Scheduled Estimated Payment*         (4,013)    (4,161)     (4,113)    (4,113)    (4,063)    (4,164)     (4,164)    (4,065)     (4,149)     (4,002)     (4,100)    (4,150)    (4,052)    (4,150)    (4,103)    (4,152)    (4,103)    (4,153)    (4,153)
           Scheduled Catch-up Payment*              0          0           0          0          0          0           0          0           0           0           0          0          0          0          0          0          0          0          0

         Penske
               Reject 9 Tractors (original)
          Scheduled Estimated Payment*              0          0           0          0          0          0           0          0           0           0           0          0          0          0          0          0          0          0          0
           Scheduled Catch-up Payment*              0          0           0          0          0          0           0          0           0           0           0          0          0          0          0          0          0          0          0

        XTRA Lease
        Recognized Administrative Claim
                          Payout terms
                                  Notes
            Reject 31 remaining Trailers            0          0           0          0          0          0           0          0           0           0           0          0          0          0          0          0          0          0          0
         Scheduled Estimated Payment*               0          0           0          0          0          0           0          0           0           0           0          0          0          0          0          0          0          0          0
          Scheduled Catch-up Payment*          (2,525)    (2,525)     (2,525)    (2,525)    (2,525)    (2,525)     (2,525)    (2,525)     (2,525)     (2,525)     (2,525)    (2,525)    (2,525)    (2,525)    (2,525)    (2,525)    (2,525)    (2,525)    (2,525)

         McKinney
          Scheduled Estimated Payment*         (8,053)    (8,053)     (8,053)    (8,053)    (8,053)    (8,053)     (8,053)    (8,053)     (8,053)     (8,053)     (8,053)    (2,854)    (8,057)    (8,059)    (8,061)    (8,063)    (8,065)    (8,067)    (8,069)
           Scheduled Catch-up Payment*              0          0           0          0          0          0           0          0           0           0           0          0          0          0          0          0          0          0          0

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                                            Exhibit C

Class 3   Mercedes Collateral
                              Contract Type: Finance
                              Secured Party: Mercedes Benz Financial Services
                                       Status: Surrender of collateral
                           Number of Vehicles: 4
                                Vehicle Type: Tractor: 2021 Freightliner PT126 SLP
                                        VIN #: 3AKJHHDR3MSMR8863
                                               3AKJHHDR5MSMR8864
                                               3AKJHHDR7MSMR8865
                                               3AKJHHDR9MSMR8866

Class 3   Mercedes Collateral
                              Contract Type: Finance
                              Secured Party: Mercedes Benz Financial Services USA LLC
                                       Status: Retain collateral
                           Number of Vehicles: 1
                                Vehicle Type: Tractor: 2022 Freightliner New Cascadia
                                        VIN #: 3AKJHHDR2NSND5866

Class 3   Mercedes Collateral
                              Contract Type: Finance
                              Secured Party: Daimler Tractor Financial Services USA LLC
                                       Status: Retain collateral
                           Number of Vehicles: 2
                                Vehicle Type: Tractor: 2022 Freightliner New Cascadia
                                        VIN #: 3AKJHHDR4NSND5867
                                               3AKJHHDR6NSND5868

Class 4   PACCAR Collateral
                              Contract Type: Finance
                              Secured Party: PACCAR INC
                                       Status: Surrender of collateral
                           Number of Vehicles: 4
                                Vehicle Type: Tractor: 2020 Peterbilt 579
                                        VIN #: 1XPBDP9X3LD630161
                                               1XPBDPPX5LD630162
                                               1XPBDP9X7LD630163
                                               1XPBDP9X9LD630164

Class 5   BMO Collateral
                              Contract Type: Finance
                              Secured Party: BMO Harris Bank NA
                                       Status: Surrender of collateral
                           Number of Vehicles: 4
                                Vehicle Type: Tractor: 2020 Peterbilt 579
                                        VIN #: 1XPBDP9X0LD630151
                                               1XPBDP9X1LD630157
                                               1XPBDP9X1LD630160
                                               1XPBDP9XXLD630156
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Class 6    Ascentium Collateral
                              Contract Type: Finance
                               Secured Party: Ascentium Capital LLC
                                      Status: Retain collateral
                         Number of Vehicles: 3
                                Vehicle Type: Tractor: 2022 Freightliner New Cascadia
                                       VIN #: 3AKJHHDR9NSNB8367
                                              3AKJHHDR0NSNB8368
                                              3AKJHHDR2NSNB8369

Class 7    Crossroads Collateral
                               Contract Type: Finance
                               Secured Party: Crossroads Equipment Lease & Finance LLC
                                       Status: Retain collateral
                          Number of Vehicles: 2
                                 Vehicle Type: Tractor: 2022 Freightliner Cascadia PT126 SLP
                                        VIN #: 3AKJHHDR9NSNB8370
                                               3AKJHHDR0NSNB8371

Class 8    Pawnee Collateral
                            Contract Type: Finance
                            Secured Party: Pawnee Leasing Corporation
                                     Status: Retain collateral
                         Number of Vehicles: 2
                              Vehicle Type: Tractor: 2022 Freightliner Cascadia
                                      VIN #: 3AKJHHDR4NSNB8373
                                             3AKJHHDR6NSNB8374

Class 9    Pathward Collateral
                            Contract Type: Finance
                            Secured Party: Pathward National Association
                                     Status: Retain collateral
                         Number of Vehicles: 1
                              Vehicle Type: Tractor: 2022 Freightliner New Cascadia
                                      VIN #: 3AKJHHDRXNSNB8376

Class 10   KeyBank Collateral
                            Contract Type: Finance
                            Secured Party: Key Equipment Finance
                                     Status: Retain collateral
                         Number of Vehicles: 9
                              Vehicle Type: Trailer: 2016 Utility Reefer
                                      VIN #: 1UYVS2532GU690806
                                             1UYVS2534GU690807
                                             1UYVS2536GU690808
                                             1UYVS2534GU690810
                                             1UYVS2536GU690811
                                             1UYVS2532GU822236
                                             1UYVS2536GU822238
                                             1UYVS2538GU822239
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                                               1UYVS2534GU822240

Class 10   KeyBank Previously Financed Collateral
                               Contract Type: Loan fully paid off in January 2023
                                      Status: Paid off / not collateral
                               Secured Party: N/A
                         Number of Vehicles: 4
                                Vehicle Type: Trailer: 2016 Utility Reefer
                                       VIN #: 1UYVS2534GU487321
                                              1UYVS2536GU487322
                                              1UYVS253XGU487324
                                              1UYVS2531GU487325
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                                   Exhibit D

 McKinney Trailer Rentals
                       Description: Trailer Lease
                            Status: Retained
               Number of Vehicles: 11
                      Vehicle Type: Trailer: 6-2022 Hyundai Dry Van
                                    Trailer: 3-2020 Utility Reefer
                                    Trailer: 2-2018 Utility Reefer
                             VIN #: 3H3V532K1NS031431
                                    3H3V532K3NS031432
                                    3H3V532K5NS031433
                                    3H3V532K7NS031434
                                    3H3V532K9NS031435
                                    3H3V532K0NS031436
                                    3UTVS2534L8932704
                                    3UTVS2536L8932705
                                    3UTVS2538L8932706
                                    1UYVS2535J2189301
                                    1UYVS2537J2189302

 Penske
                    Description: Trailer Lease
                           Status: Retained
               Number of Vehicles: 4
                    Vehicle Type: Trailer: 2-2020 Great Dane '45 Bread
                                   Trailer: 1-2016 Utility Dry Van
                                   Trailer: 1-2020 Hyundai Dry Van
                            VIN #: 1GR1A902XLB209462
                                   1GR1A9021LB209463
                                   1UYVS2538GG476840
                                   3H3V532C0LT489073

 Penske
                    Description: Trailer Lease
                           Status: Rejected
               Number of Vehicles: 5
                    Vehicle Type: Trailer: 1-2015 Hyundai Reefer
                                   Trailer: 2-2021 Hyundai Reefer
                                   Trailer: 2-2020 Utility Reefer
                                   3H3V532C7FT649003
                                   3H3V532C3MT694002
                                   3H3V532C5MT694003
                                   1UYVS2532L2900617
                                   1UYVS2536L2900619
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 Penske
                 Description: Tractor Lease
                        Status: Rejected
            Number of Vehicles: 9
                 Vehicle Type: Tractor: 9-2020 Freightliner
                         VIN #: 3AKJHHFG2LSLN5171
                                3AKJHHFG8LSLN5174
                                3AKJHHFGOLSLN5198
                                3AKJHHDR5LSLV9378
                                3AKJHHDR7LSLV9379
                                3AKJHHDR3LSLV9380
                                3AKJHHDR7LSLV9382
                                3AKJHHDR9LSLV9383
                                3AKJHHDR0LSLV9384

 Ryder
               Contract Type: Tractor Lease
                        Status: Rejected
            Number of Vehicles: 15
                 Vehicle Type: Tractor: 10-2023 Volvo
                                Tractor: 5-2020 Freightliner
                         VIN #: 4V4NC9TH7PN341951
                                4V4NC9TH9PN341952
                                4V4NC9TH0PN341953
                                4V4NC9TH2PN341954
                                4V4NC9TH4PN341955
                                4V4NC9TH6PN341956
                                4V4NC9TH8PN341957
                                4V4NC9THXPN341958
                                4V4NC9TH1PN341959
                                4V4NC9TH8PN341960
                                3AKJHHDR3LSLG6440
                                3AKJHHDR9LSLG6443
                                3AKJHHDR2LSLG6445
                                3AKJHHDR6LSLG6447
                                3AKJHHDR8LSLG6448

 Ryder
               Contract Type: Tractor Lease
                        Status: Rejected
            Number of Vehicles: 4
                 Vehicle Type: Tractor: 4-2020 Freightliner
                         VIN #: 3AKJHHDR5LSLG6441
                                3AKJHHDR5LSLG6442
                                3AKJHHDR0LSLG6444
                                3AKJHHDR4LSLG6446
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 Wells Fargo
                  Contract Type: Trailer Lease
                           Status: Retained
               Number of Vehicles: 13
                    Vehicle Type: Trailer: 8-2018 Great Dane Dry Van
                                   Trailer: 5-2018 Silver Eagle Dolly
                            VIN #: 1GRAA9025JB127491
                                   1GRAA9027JB127492
                                   1GRAA9022JB127495
                                   1GRAA9024JB127496
                                   1GRAA9026JB127497
                                   1GRAA9028JB127498
                                   1GRAA902XJB127499
                                   1GRAA9022JB127500
                                   1U3JX1015JBJ20422
                                   1U3JX1015JBJ20423
                                   1U3JX1015JBJ20424
                                   1U3JX1015JBJ20425
                                   1U3JX1015JBJ20426

 Alliance Funding Group
                     Contract Type: Tractor Lease
                            Status: Retained
                Number of Vehicles: 2
                      Vehicle Type: Tractor: 2022 Freightliner New Cascadia
                             VIN #: 3AKJHHDR2NSNB8372
                                    3AKJHHDR8NSNB8375

 XTRA LEASE
                  Contract Type: Trailer Lease
                           Status: Rejected
               Number of Vehicles: 31
                    Vehicle Type: Trailer: 4-2019 Utility Reefer
                                   Trailer: 23-2020 Utility Reefer
                            VIN #: 1UYVS253XL2936202
                                   1UYVS2531L2936203
                                   1UYVS2533L2936204
                                   1UYVS2535L2936205
                                   1UYVS2537L2936206
                                   1UYVS2539L2936207
                                   1UYVS2530L2936208
                                   1UYVS2539L2936210
                                   1UYVS2530L2936211
                                   1UYVS2532L2936212
                                   1UYVS2534L2936213
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                            1UYVS2536L2936214
                            1UYVS2538L2936215
                            1UYVS253XL2936216
                            1UYVS2531L2936217
                            1UYVS2533L2936218
                            1UYVS2535L2936219
                            1UYVS2531L2936220
                            1UYVS2533L2936221
                            1UYVS2535L2936222
                            1UYVS2537L2936223
                            1UYVS2539L2936224
                            1UYVS2530L2936225
                            1JJV532D3GL954539
                            1GRAA06234J602780
                            1JJV532D7AL349219
                            1JJV532D0AL349224
                            1JJV532D2CL721116
                            1JJV532D2CL721181
                            1JJV532D5CL728917
                            3H3V532C9JT276006
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